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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)     *           MDL 2592
PRODUCTS LIABILITY LITIGATION    *
                                 *           SECTION L
THIS DOCUMENT RELATES TO:        *
      ALL CASES                  *           JUDGE ELDON E. FALLON
                                 *
                                 *           MAG. JUDGE NORTH
                                 *
************************


                            EXHIBIT 7 TO
      PLAINTIFFS’ MOTION TO PRECLUDE SPECULATIVE TESTIMONY
       FROM SIX DEFENSE EXPERTS ABOUT POTENTIAL OUTCOMES
                   FROM OTHER ANTICOAGULANTS




FILED UNDER SEAL
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                                                                     Page 1                                                                        Page 3
                      UNITED STATES DISTRICT COURT                            1                             STIPULATIONS
                      EASTERN DISTRICT OF LOUISIANA                           2         IT IS HEREBY STIPULATED BY AND BETWEEN COUNSEL FOR
                                                                              3    THE PARTIES THAT THE ORAL VIDEO DEPOSITION OF STEVEN
     IN RE:   XARELTO (RIVAROXABAN)                         MDL NO. 2592
                                                                              4    SCOTT BONIOL, M.D., IS BEING TAKEN BEFORE SARAH B.
     PRODUCTIONS LIABILITY LITIGATION                 MAG. JUDGE NORTH
                                                                              5    TOWNSLEY, CCR, RPR, CERTIFIED COURT REPORTER IN AND FOR
     THIS DOCUMENT RELATES TO:
     JOSEPH BOUDREAUX, NO. 14-0270                                            6    THE STATES OF TEXAS AND LOUISIANA, PURSUANT TO NOTICE
                                                                              7    AND IN ACCORDANCE WITH THE FEDERAL RULES OF CIVIL
                                                                              8    PROCEDURE AS PROVIDED BY LAW, AT THE OFFICES OF COOK,
         PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW                     9    YANCEY, KING & GALLOWAY, 333 TEXAS STREET, SHREVEPORT,
                                                                              10   LOUISIANA, ON JANUARY 14, 2017;
                             ORAL DEPOSITION
                                                                              11        THE PARTIES HEREBY WAIVE ALL FORMALITIES IN
                                     OF
                        STEVEN SCOTT BONIOL, M.D.                             12   CONNECTION WITH THE TAKING OF THE DEPOSITION, WITH THE
                                                                              13   EXCEPTION OF THE SWEARING OF THE WITNESS AND THE
                        Taken at the offices of                               14   REDUCTION OF THE QUESTIONS AND ANSWERS TO TYPEWRITING;
                      Cook, Yancey, King & Galloway                           15        THE RIGHT OF THE WITNESS TO READ AND SIGN A COMPLETED
                             333 Texas Street
                                                                              16   TRANSCRIPT OF TESTIMONY IS SPECIFICALLY RESERVED;
                          Shreveport, Louisiana
                                                                              17        COUNSEL FOR ALL PARTIES RESERVE ALL OBJECTIONS EXCEPT
     January 14, 2017                                             9:13 a.m.
                                                                              18   AS TO THE FORM OF THE QUESTION AND RESPONSIVENESS OF THE
                                                                              19   ANSWER AT THE TIME OF TAKING OF SAID DEPOSITION, AND
                                                                              20   THEY ALSO RESERVE THE RIGHT TO MAKE OBJECTIONS AT THE
                                                                              21   TIME THAT TAKING OF SAID DEPOSITION OR ANY PART THEREOF
                                                                              22   MAY BE OFFERED INTO EVIDENCE, WITH THE SAME RIGHTS AS IF
                                                                              23   THE TESTIMONY HAD BEEN GIVEN IN OPEN COURT;
                                                                              24        SARAH B. TOWNSLEY, CCR, RPR, OFFICIATED IN
                                                                              25   ADMINISTERING THE OATH TO THE WITNESS.



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                        Boudreaux_Steven Scott Boniol, MD Deposition_00001                            Boudreaux_Steven Scott Boniol, MD Deposition_00003




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                                                                     Page 2                                                                        Page 4
1    APPEARANCES:                                                              1                                 INDEX
2    FOR PLAINTIFF:
3                     GOZA & HONNOLD                                           2   EXAMINATION BY                                                PAGE NO.
                      11150 Overbrook Road                                     3   MR. HONNOLD                                                             6
4                     Suite 250
                      Leawood, KS 66211                                        4
5                     By: Bradley Honnold, Esquire
6
                                                                               5                                EXHIBITS
     FOR JANSSEN:                                                              6   NO.      DESCRIPTION                                          PAGE NO.
7
                      BARRASSO, USDIN, KUPPERMAN, FREEMAN &                    7   1        expert report                                                  11
8                       SARVER
                                                                               8   2        "Gastrointestinal Safety of Direct Oral..."                    56
                      Suite 2400
9                     909 Poydras Street                                       9
                      New Orleans, LA 70112
10                    By: Richard E. Sarver, Esquire                          10
                           RSarver@BarrassoUsdin.com                          11
11                         Madison Sharko, Esquire
                           MSharko@BarrassoUsdin.com                          12
12
13                    IRWIN, FRITCHIE, URQUHART & MOORE                       13
                      Suite 2700                                              14
14                    404 Poydras Street
                      New Orleans, LA 70130                                   15
15                    By: James Irwin, Esquire
                           JIrwin@IrwinLLC.com                                16
16                         Jeanette Mills                                     17
                           JMills@IrwinLLC.com
17                                                                            18
18   FOR BAYER:
                                                                              19
19                    WILKINSON, WALSH & ESKOVITZ
                      Suite 800                                               20
20                    1900 M Street NW
                      Washington DC 20036                                     21
21                    By: Kim Channick, Esquire
                                                                              22
                           KChannick@WilkinsonWalsh.com
22                         Kieran Gostin, Esquire                             23
                           KGostin@WilkinsonWalsh.com
23                                                                            24
24   REPORTED BY:     Sarah B. Townsley, CCR, CSR, RPR, Notary                25
25   VIDEOGRAPHER:    Lyn Rieger, Golkow Technologies


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                        Boudreaux_Steven Scott Boniol, MD Deposition_00002                            Boudreaux_Steven Scott Boniol, MD Deposition_00004
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                                                                     Page 5                                                                             Page 7
1    PROCEEDINGS:                                                                 1        A.     I do remember.
2                       STEVEN SCOTT BONIOL, M.D.,                                2        Q.     I'm going to set those just here.            You and I
3    having been first duly sworn, testified on oath as                           3    might have some reason to access those, and, rather
4    follows:                                                                     4    than re-mark things, we can just refer to them as what
5                  VIDEOGRAPHER:               We're now on the                   5    had been marked yesterday as the appropriate exhibit
6    record.    My name is Lyn Rieger, videographer for Golkow                    6    number.    What I would like to do is just hand you what
7    Technologies.    Today's date is January 14, 2017.               The         7    have been marked as Exhibit 2 from yesterday and have
8    approximate time is 9:13 a.m.         The video deposition is                8    you identify for me in those invoices the dated
9    being held in Shreveport, Louisiana, in the matter of                        9    invoices that show your specific work that you did in
10   Xarelto products liability litigation, filed in the                          10   the Boudreaux case.
11   United States District Court, Eastern Division of                            11       A.     These are 14 invoices.        Are you asking me to
12   Louisiana.    The deponent is Dr. Scott Boniol.              The court       12   look for the ones that are specifically for Boudreaux?
13   reporter is Sarah Townsley, and the deposition right now                     13       Q.     Yes, sir.
14   is representing the family of Joseph Boudreaux, and                          14       A.     Looking at this, certainly, some of my invoices
15   attorneys, if you will introduce yourselves for the                          15   as it relates to just general knowledge, and research,
16   record, and then our court reporter will swear the                           16   and background relating to Xarelto use, side effects,
17   witness.                                                                     17   should probably be included, because, certainly, that
18                 MR. HONNOLD:          Thank you.        Brad Honnold           18   was instrumental in helping form my opinion.               The
19   for Mr. Boudreaux.                                                           19   majority of these early invoices, dated April 6, 2015,
20                 MR. SARVER:           Rick Sarver for Janssen.                 20   through October 20, 2015, were back related to Science
21                 MS. SHARKO:           Madeline Sharko for                      21   Day, which, again, was a lot of research done to
22   Janssen.                                                                     22   educate -- or more deeply educate myself, as well as to
23                 MS. MILLS:            Jeanette Mills for                       23   educate Judge Fallon and all the counsel involved in
24   Janssen.                                                                     24   the case on the specifics of this, so that allowed me
25                 MRS. CHANNICK:        Kim Channick for Bayer.                  25   to not need nearly as much time to review specifically



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                                                                     Page 6                                                                             Page 8
 1                  MR. GOSTIN:           Kieran Gostin for Bayer.                1    some of the stuff pertinent to this case, but I would
 2                  MR. IRWIN:            Jim Irwin for Janssen.                  2    say invoice number 55, 57, 58, 59 relate to -- and, I'm
 3                     [Witness was sworn.]                                       3    sorry, and 60 relate to Mr. Boudreaux.
 4   EXAMINATION BY MR. HONNOLD:                                                  4        Q.     When did you receive the medical records in the
 5       Q.     Doctor, good morning.        You know we're here                  5    Boudreaux case?
 6   today to take your deposition related to the Boudreaux                       6        A.     I believe I received the medical records in the
 7   case?                                                                        7    Boudreaux case in late August or early September of
 8       A.     Yes, sir.                                                         8    2016.
 9       Q.     And you know that's a case that you have                          9        Q.     So you would not have looked at any of Mr.
10   reviewed some materials, medical records, and have                           10   Boudreaux's records prior to August of 2016?
11   been retained to express opinions in that regard?                            11      A.      I did not, no.    If I received them -- you know,
12       A.     Yes, sir.                                                         12   they sat in my office for a little while before I
13       Q.     And I don't know if we have the benefit of the                    13   opened them.
14   marked exhibits from yesterday.           It looks like we do                14       Q.     And so the first invoice that you have that
15   have them, so I might need to resort to them for some                        15   makes any reference to reviewing the Boudreaux medical
16   reason.    Why don't we just put those out in the                            16   records is invoice number 59?
17   middle, because, if we go back and forth between the                         17       A.     That is correct.
18   billing and things like that, it might be helpful.                      Do   18       Q.     And then on invoice number 59, in terms of that
19   you recall that, yesterday, we were here, and we took                        19   entry, do you know how much time out of that twelve
20   -- you can either call it your general deposition or                         20   hours that's reflected on the invoice was related to
21   generic deposition, for kind of your global opinions                         21   the review of the Boudreaux medical records?
22   related to Xarelto, right?                                                   22       A.     I would think at least eight hours of that was
23       A.     Yes, sir.                                                         23   specifically to Boudreaux.
24       Q.     And you know that we marked numerous things as                    24       Q.     Then after invoice number 59, did you bill for
25   exhibits in that deposition yesterday?                                       25   any additional time reviewing the Boudreaux medical



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                                                                      Page 9                                                                       Page 11
 1   records?                                                                  1    preparing the Boudreaux report, you would have twelve
 2       A.     Yeah, I think you can see there on invoice 60,                 2    hours of record review, and then anywhere from 2 to 3
 3   dated 11/16/2016, obviously, the initials "JB" there                      3    hours of work on the report?
 4   for case-specific reports also include that of Mr.                        4        A.     Yeah, you know, as far as the specifics to
 5   Boudreaux.                                                                5    Boudreaux, I think, probably, you can also take some
 6       Q.     So my question did you bill for any additional                 6    time from invoice number 58, work on formal reports,
 7   time reviewing medical records other than what's on                       7    just because some of the work I did on general reports
 8   invoice 59?                                                               8    was later more tailored down to Boudreaux, so some of
 9       A.     Yes.                                                           9    this stuff intertwines, and, you know, it's hard to
10       Q.     And so that would have been on invoice 60?                     10   say exactly.    Again, you know, I don't know if you
11       A.     Correct.                                                       11   want to count all the countless hours I've spent
12       Q.     And is some of that time, then, where you say                  12   learning how to read medical records that allowed me
13   "case-specific reports"?         Is that what you're referring            13   to get through them a lot quicker as part of
14   to, then?                                                                 14   preparation or not.     I don't know how far you want to
15       A.     Yes, sir.                                                      15   go with that, but specifically that I billed, I think
16       Q.     And out of that billing line entry, how much                   16   you're right on it with the numbers you have.
17   time would have been spent related -- additional time,                    17      Q.      I'm going to show you what we are marking for
18   to the eight hours you had before related to reviewing                    18   today's deposition as Exhibit 1.          What is that
19   Mr. Boudreaux's medical records?                                          19   document?    And I apologize.      Some of these aren't
20       A.     I would think another four hours.                              20   stapled.    My traveling stapler malfunctioned.
21       Q.     And so, then, related to Mr. Boudreaux's case,                 21                 MR. SARVER:           Not a problem.
22   your best estimate is you would have had twelve hours                     22      A.      This document is my expert report on the Joseph
23   spent on reviewing his medical records?                                   23   Boudreaux case, as well as cited references, reliance
24       A.     On just his medical records, correct.                          24   lists.    It does have the older CV at the end.              I think
25       Q.     Then the same general questions relating to                    25   we cleared that up yesterday with the more up-to-date



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                                                                     Page 10                                                                       Page 12
1    the preparation of the report for Mr. Boudreaux.                  When     1   one.     I don't think that has any bearing on what you're
2    would have been -- which invoice would have reflected                      2   asking me on this case, though, so this is just the
3    the first work that you did on the Boudreaux report?                       3   reliance list of materials that I reviewed to consider
4        A.     Well, it's kind of hard to put down to a                        4   both sides of the case.       It does appear, again, to be a
5    specific there.    I mean, in preparation for this, as I                   5   reliance list that has been amended, that was given to
6    side before, there's been at least a last-15-year thing                    6   you yesterday, so I think we're a little short on this
7    in just knowing hematology and learning hematology and                     7   reliance list, but it also refers to the specific
8    medicine, but specifically typing on his report would                      8   medical records that I reviewed for this case.
9    be likely number 59.                                                       9                                                          BY MR.
10      Q.      And in terms of that line entry there that has                 10   HONNOLD:
11   twelve hours of time, how much of that twelve hours                       11       Q.      Before we get into some of the details of the
12   would have been devoted to preparing or working on the                    12   report, the invoices that we just looked at, these
13   Boudreaux report?                                                         13   documents actually have the invoice number on their
14       A.     Probably about an hour, hour and a half.                       14   series of numbers, starting at 22, and the last one is
15       Q.     Then after invoice 59, would you have had any                  15   0060.    What controls the -- in terms of the software
16   additional time spent or reflected on invoice 60 for                      16   package that you -- that somebody uses to prepare these
17   work on the Boudreaux report?                                             17   bills, what controls the selection of the invoice
18       A.     Probably, you know, at least another hour, hour                18   number?
19   and a half there, too.                                                    19       A.      So, you know, the invoice number is controlled
20       Q.     So out of the 18 hours on invoice 60, one hour                 20   by sequential invoices that I send to people for doing
21   to 1.5 hours would have also been working on the                          21   billing for any work that I do.
22   Boudreaux report?                                                         22       Q.      And so other than the medical-legal work
23       A.     To the best of my recollection, yes.                           23   that's reflected on the invoices for your work on this
24       Q.     So, then, in terms of time spent, either                       24   case, what other sort of individualized invoices for
25   related to review of the Boudreaux medical records or                     25   the work that you do do you generate?



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                                                                       Page 13                                                                       Page 15
1        A.     Certainly, I do work for -- I used to do                         1    you would include the updated CV, and you would include
2    contract work for hospice, which is end-of-life care.                       2    the updated reliance list?
3    Sometimes I will do work for -- you know, or just                           3        A.   Yes, sir.
4    independent work as far as focused practice review for                      4        Q.   Is there any other work that you've done on
5    physicians in the hospital that are new, to make sure                       5    the Boudreaux case that isn't reflected either in the
6    they're doing their job correctly, so anytime I do                          6    report itself or on the invoices related to it?
7    anything on a 1099-type work, I give them a separate                        7        A.   I think, since the report's been generated, you
8    invoice.    I can tell you all the invoices I've ever                       8    know, I have went back and re-read some of the medical
9    sent in on this litigation are included here.                               9    record, yes.
10      Q.      And so your other 1099 income, though, would be                  10      Q.    And so in terms of additional unbilled time
11   things that would fill in the gaps on the other invoice                     11   that you have in the Boudreaux case, after the last
12   numbers?                                                                    12   November invoice, how much time would there be?
13       A.     Correct.                                                         13      A.    You know, I didn't bill for the specific time.
14       Q.     The reason that these invoices have the number                   14   I think probably about two hours reviewing some of the
15   that they do, it means that they followed invoices                          15   medical record.
16   that were generated for some other purpose?                                 16       Q.   The issue of comparative results between or
17       A.     Correct.                                                         17   among the various NOACs, have you specifically done a
18       Q.     So other than -- well, let me ask you about                      18   literature search on that issue?
19   the contract work for hospice, then.               Who is the               19       A.   What do you mean?        I mean, I'm not -- you can't
20   entity that you would have billed for the contract work                     20   compare the NOACs to each other.          There's no trial
21   for hospice?                                                                21   that's been done directly comparing them.              I've done a
22       A.     It would billed out of Christus Home Health                      22   literature search looking at some authors trying to
23   Care.                                                                       23   make references to this NOAC versus that NOAC.
24       Q.     And then, for that work, do you bill by the                      24   Certainly, I've read multiple reports looking at that,
25   hour, or some other rate?                                                   25   but, of course, they're all disclaimed.             It's



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                                                                       Page 14                                                                       Page 16
 1       A.     By the hour.                                                     1    well-known in medicine that you can't do that and make
 2       Q.     And so some of these other invoices, then,                       2    any conclusions.
 3   that would have been generated between April of 2015                        3        Q.   My question for you was:           Have you done a
 4   and November of 2016, some of those would have gone to                      4    specific search to determine what is out there that
 5   Christus Home Health Care?                                                  5    speaks to issues of comparative results --
 6       A.     Correct.                                                         6        A.   So --
 7       Q.     And then you mentioned independent work that                     7        Q.   -- between the various NOACs?
 8   you do on focus practice review to determine whether                        8        A.   Yes, I have looked at various NOACs looking at
 9   new physicians are doing their work or jobs correctly;                      9    each other and considered those, but, certainly,
10   is that right?                                                              10   they've not swayed an opinion, and I don't think they
11       A.     Correct.                                                         11   would sway any doctor's opinion.
12       Q.     So, for those invoices, who would you be                         12      Q.    I've just asked you if you've done it.
13   billing?                                                                    13      A.    Sure.
14       A.     I send those in to Christus, as well.                            14      Q.    That was it; so you have done it?
15       Q.     And then do you bill Christus by the hour for                    15       A.   Yes.
16   that work?                                                                  16       Q.   And those articles that you would have found on
17       A.     I do.                                                            17   that issue, would they be reflected in the updated
18       Q.     And so the other invoice numbers which fill in                   18   reliance list?
19   the gaps for this sequence, would they have all been                        19       A.   They should be.
20   invoices generated -- or issued to Christus?                                20       Q.   And so if we looked at the updated reliance
21       A.     Yes.                                                             21   list, would you be able to identify which are the
22       Q.     The Orr -- excuse me, the Boudreaux report                       22   articles that speak to that issue?
23   that we've marked as Exhibit 1, to make it up-to-date,                      23       A.   If I had time to review it, yes.
24   as we had the same discussion -- related to the                             24       Q.   The updated reliance list, I think we had
25   discussion we had yesterday, for it to be complete,                         25   marked yesterday as Exhibit 3.



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                                                                      Page 17                                                                         Page 19
1         A.   So, you know, 58 looks at -- compares                             1   gastrointestinal bleeding?
2    dabigatran and rivaroxaban.          That was considered.                   2        A.   I'm almost certain that one does not.                  I'm
3    Again, some of -- I might not be able to recognize by                       3   familiar with that article.
4    title.    I think 24 looks at dabigatran and rivaroxaban,                   4        Q.   The next one you listed was number 24.                    From
5    each other; 20 looks at various things, there; 9, 7, 6,                     5   looking at that bibliography entry, can you tell
6    3.   Those are the ones that jump out immediately as                        6   whether that paper likely does or not speak to
7    different articles that look -- that mention different                      7   comparative data on gastrointestinal bleeding for the
8    NOACs with each other.                                                      8   various NOACs?
9         Q.   So hold onto that for a second.               Article number      9        A.   I'm fairly certain that one does.
10   3, can you tell by the title as to whether that article                    10        Q.   Then the additional one you listed was 58 on
11   does, in fact, discuss relative rates of                                   11   page 20 of Exhibit 3.        From looking at that
12   gastrointestinal bleeding or incidents of                                  12   bibliography entry, do you think that that article or
13   gastrointestinal bleeding between the various NOACs?                       13   paper likely does or does not speak to comparative data
14        A.   I'd have to look at the exact article.                 I can't   14   amongst the NOACs as to the rate or incidence of GI
15   recall off the top of my head.                                             15   bleeding?
16        Q.   But in terms of the references that are on your                  16        A.   I would think it does not.
17   list that might speak to that, you would at least                          17        Q.   So in terms of going through those seven
18   include number 3 as a candidate to look at?                                18   possibilities that you had initially listed, it looks
19        A.   Correct.                                                         19   like the only one that you think -- that you could say
20        Q.   Then article number 6 that's on page 15 of                       20   likely does, based upon either your recollection or
21   Exhibit 3, can you tell, from looking at the title and                     21   looking at the bibliography entries, was article 24 on
22   bibliography listing for that article, whether it                          22   Exhibit 3?
23   specifically speaks to the issue of comparative                            23        A.   I think we said number 3 probably does.
24   incidence or rate of gastrointestinal bleeding between                     24        Q.   I think you said number 3, you don't know.
25   or among the various NOACs?                                                25   You'd have to look at it to tell.



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                                                                      Page 18                                                                         Page 20
 1        A.    I think it probably would not.                                  1         A.   Let me see.      Is that what I said?
 2        Q.    You think that 6, now, would not, as you look                   2         Q.   I wrote down, "Don't know", but if you think --
 3   at it more closely?                                                        3         A.   I think 3 probably does.            I think number 24
 4        A.    I don't think it would -- specifically what                     4    probably does, for sure.         I'm sorry, go ahead.           I
 5   you're asking now, no.                                                     5    didn't mean to interrupt you.
 6        Q.    Then number 7, also on page 15, can you tell                    6         Q.   No, that's okay.        I'm glad you did.          I just
 7   from looking at the bibliography entry as to whether                       7    want to make sure now that, out of the bibliography
 8   that article likely does or does not speak to                              8    entries on Exhibit 3, the two papers or articles that
 9   comparative information as to the relative incidence or                    9    you think probably do speak to comparative data amongst
10   rate of gastrointestinal bleeding between the NOACs?                       10   the NOACs on the issue of rate or incidence of
11        A.    I would say that it probably does not.                          11   gastrointestinal bleeding is probably article number 3
12        Q.    Then going to page 16, if you look, the next                    12   and probably article 24?
13   one you said was possible was number 9.                Can you tell        13        A.   Correct.
14   from looking at that bibliography entry whether that                       14        Q.   And, in fact, to be correct, you said you know
15   paper likely does or does not speak to comparisons                         15   with certainty that article 24 does speak to that issue
16   regarding the rate or incidence of gastrointestinal                        16   --
17   bleeding amongst the NOACs?                                                17        A.   I said fairly certain that -- it mentions just
18        A.    It probably does not.                                           18   incidences.   Again, I don't think you can call it
19        Q.    The next one that you listed as a possibility                   19   comparative data.      You can't compare the two together,
20   was number 20.     That's on page 17 of Exhibit 3.                 From    20   but I think it just mentions incidences, yes.
21   looking at that bibliography entry, can you tell                           21        Q.   Other than the sources that you've listed in
22   whether that paper likely does or does not --                              22   Exhibit 3, are you, today, as you sit here, aware of
23        A.    No --                                                           23   any other published data that looks at, specifically,
24        Q.    -- speak to a comparison between the various                    24   and discusses in detail, the issue of relative rates of
25   NOACs and the issue of the rate or incidence of                            25   gastrointestinal bleeding amongst the various NOACs?



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                                                                     Page 21                                                                             Page 23
1        A.     Well, I mean, certainly, if you're talking                          1        Q.    Can be?
2    about relevant rates, you can look at the package                              2        A.    No.   No interceptions can be enough to lose the
3    studies, you can look at the studies of each individual                        3    game, as well.
4    NOAC and find those.      As far as any study that would                       4        Q.    So I just want to make sure we're clear, then.
5    comparing study X to study Y, I mean, that's just a                            5    You do not think there would ever be any valid reason
6    waste of time.     You can't do that in different patient                      6    for any prescribing physician to take into account the
7    populations, so I wouldn't waste my time reading                               7    comparative information that exists on NOACs on the
8    something like that.                                                           8    issue of GI bleeding between the NOACs?
9        Q.     Okay, so my question was:          Are you aware of any             9                  MR. SARVER:            Object to form.
10   such literature that talks about that?                                         10      A.     Yeah, so, no, I don't think there's any reason
11      A.      I don't look for it, so I'm not aware.                              11   to take that into consideration.           Again, you've got to
12      Q.      Have you looked to determine whether the                            12   take in global data, global patient data, so
13   American College of Gastroenterology has published                             13   specifically speaking to the NOACs, there's no direct
14   anything on that issue, in terms of relative data                              14   trial that has ever been done; therefore, with any
15   talking about gastrointestinal bleeding of the various                         15   reliability, nothing can be said between NOAC A and
16   NOACs?                                                                         16   NOAC B.   You cannot say anything about any adverse
17       A.     It wouldn't change my practice, so I don't look                     17   effect between Xarelto and Eliquis until they're
18   for it.                                                                        18   studied in the same patient population prospectively.
19       Q.     Okay.   Could there be patients, based on their                     19   Never been done, so I can tell you with certainty, no,
20   background, medical history, demographics, that the                            20   you cannot do that.
21   issue of the likelihood of them to have GI bleeding on                         21       Q.    Are you aware of anyone that's ever proposed
22   one particular NOAC over the other might be a relative                         22   such a trial to any drug manufacturer?
23   piece of information to take into account when                                 23       A.    Well, so, again, you know, if Eliquis was so
24   prescribing the drug?                                                          24   much better, I promise you, that manufacturer would
25                 MR. SARVER:            Object to form.                           25   jump on the case to prove that they're better.                 They



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                                                                     Page 22                                                                             Page 24
 1       A.     Absolutely not.                                                     1    have not done it because they know they likely are not
 2   BY MR. HONNOLD:                                                                2    going to be successful, so, no, they're not going to do
 3       Q.     So you don't think there would be any reason                        3    that trial.
 4   for any physician to take into account varying --                              4                  MR. HONNOLD:           Move that it be stricken
 5   different rates of gastrointestinal bleeding amongst                           5    as nonresponsive.
 6   the NOACs for their patients?                                                  6    BY MR. HONNOLD:
 7                 MR. SARVER:             Object to form.                          7        Q.    Are you specifically aware as to whether anyone
 8       A.     So there's never been any study to directly                         8    has proposed such a head-to-head trial to any one of
 9   compare a specific patient population between the                              9    the manufacturers of the NOACs?
10   different NOACs, so the data that can drive you to make                        10      A.     I'm not aware if anyone has.            I'm sure that
11   a scientifically-based decision does not exist, so, no,                        11   somebody might ask that question, but they're not going
12   there's no reason -- you can't look at Study X and say,                        12   to do it, so ...
13   "Oh, the bleeding rate was this" and look at Study Y                           13       Q.    But as you sit here today, you're not aware of
14   and say, "The bleeding rate was this", and say, "Well,                         14   anyone specifically proposing such a trial to any of
15   gosh, the bleeding rate's higher on this drug."                   You          15   the NOAC manufacturers?
16   can't do that.     Patient populations are different.                    You   16       A.    I have not proposed such a trial, so I can't
17   know, the best analogy I always give is if Drew Brees                          17   speak to any other doctor if they have or not.
18   throws four interceptions against the Giants, it                               18       Q.    If you were to propose such a trial -- if you
19   doesn't mean he's going to throw four against the                              19   wanted to do such a comparison, how would you structure
20   Cowboys.    They've got to play the same game.               You               20   the trial?
21   cannot compare NOACs until they're studies directly in                         21       A.    Well, I mean, I think what you would do is you
22   a prospective, randomized, phase 3 trial; never been                           22   would have to take each NOAC for their approved
23   done.                                                                          23   indication, and you'd have to randomize from a central
24       Q.     One interception's enough to lose the game?                         24   -- you know, blindly randomize patients.               For example,
25       A.     No, not necessarily.                                                25   if you were going to do a DVT trial, when patients come



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                                                                    Page 25                                                                           Page 27
1    in with DVT, you're going to have to randomize them to                       1        Q.    So page 3 is nothing but historical medical
2    standard -- Arm A could be standard Xarelto treatment,                       2    data, correct?
3    Arm B could be standard Eliquis treatment, Arm C could                       3        A.    Correct.
4    be standard Pradaxa treatment, Arm D could be standard                       4        Q.    From his medical records?
5    Savaysa treatment, and then you can look at incidences                       5        A.    Yes, sir.
6    and see if there's any statistically significant                             6        Q.    When you set out to do the report for Mr.
7    differences in bleed rates.         Until that's done, you                   7    Boudreaux's case, what was your -- I guess what was the
8    cannot say there's any difference in these drugs.                   You      8    question that was called, or the objective?                What were
9    can't do it.                                                                 9    you trying to do from the outset?
10      Q.      And if you were to propose a trial like that,                     10      A.     Well, I mean, first, I wanted to learn who Mr.
11   would it cost money to do?                                                   11   Boudreaux was.   I wanted to learn what type of medical
12      A.      I'm sure it would.                                                12   problems he had.     I wanted to learn, you know, how he
13      Q.      Well, you talked about the fact that your                         13   was treated for these various medical issues.                 I just
14   institution loses money on the clinical trial work                           14   kind of wanted to learn his story, you know, wanted to
15   that you do, correct?                                                        15   see how he got to where he had -- was placed on
16      A.      Correct.                                                          16   Xarelto, wanted to see where he was when his
17      Q.      And you have to come up with some budgetary                       17   hemoglobin dropped, wanted to see how he was treated,
18   estimates as to how you allocate costs to your various                       18   wanted to see, again, what happened to him.                I mean,
19   staff that works on those things, correct?                                   19   that's the whole reason you read a medical history, is
20      A.      Correct.                                                          20   to figure out what the story is.
21      Q.      And you are charging for that work back to the                    21      Q.     Okay, so one objective was to figure out what
22   company that's undertaking the trial, correct?                               22   the story was, right?
23      A.      No, not correct.      I mean, sometimes we do ECOG                23      A.     That's my only objective.           I don't think I had
24   rials, so there are cooperative groups that fund this,                       24   any other objective.      I wanted to learn about who Mr.
25   but the federal government runs clinical trials.                  It's       25   Boudreaux was and what happened to him.



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                                                                    Page 26                                                                           Page 28
1    not always a company, no.                                                    1        Q.    Have you looked at individual medical records
2        Q.     So you would at least have to obtain funding                      2    for any other patients related to Xarelto litigation,
3    from some source to do such a trial, correct?                                3    other than Mr. Boudreaux or Mrs. Orr?
4        A.     Absolutely.                                                       4        A.    No, sir.    Those are the only two related to
5        Q.     And so the places where that funding could be                     5    litigation.
6    obtained would be either professional societies or                           6        Q.    If you go on to page 4, is page 4 also, in its
7    groups, governmental entities such as the NIH, or                            7    entirety, information that came from medical records?
8    private pharmaceutical companies, correct?                                   8        A.    Yes, sir.    Page 4 is just factual medical
9        A.     Correct.                                                          9    information from his medical records.             I don't draw any
10      Q.      In Mr. Boudreaux's report that we've marked as                    10   conclusions or make any opinions on this page.
11   Exhibit 1, I just want to make sure I understand the                         11      Q.     Same question for page 5.           Is that also all
12   source of the various information that's in the report.                      12   historical medical record information without any
13   If you look at page 3 of the report.                                         13   reference or conclusions made by you?
14      A.      Yes.                                                              14      A.     With the exception of the last paragraph on
15      Q.      Is that all information that would have been                      15   page 5, I think I make some -- the very last two
16   taken from his medical records?                                              16   sentences, I start talking about what atrial
17      A.      That is.                                                          17   fibrillation is.     That's not part of his medical
18      Q.      And I just want to make sure I understand.                   Is   18   record.   Other than that, it's all factual information
19   there anything in what you've written in page 3 that                         19   from his medical record.
20   includes conclusions or inferences that you've made                          20      Q.     So the first four paragraphs on page 5 are, in
21   about his underlying medical history or demographic                          21   their entirety, information that came from the medical
22   data.    For example, "Because he has diabetes,                              22   record?
23   therefore, such-and-such thing"?                                             23       A.    Yes, sir.
24      A.      No, sir.   I think these are all just medical                     24       Q.    Then same questions for page 7.              Can you tell
25   facts directly taken out of the record.                                      25   me which paragraphs on page 7 might include either some



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                                                                     Page 29                                                                           Page 31
1    conclusory or reference data?                                              1   increased portal pressure, is a medical fact in this
2        A.     Which paragraphs would have that?                               2   case.      Those things are known to contribute to GI
3        Q.     Yes.                                                            3   bleeds, so I don't know if I come out and exactly say
4        A.     Probably all of them.                                           4   that.      Sometimes, as a doctor, as I'm writing this
5        Q.     So the paragraph at the top of page 7 includes                  5   report, I'm like, "Well, geez, everybody knows this",
6    some kind of general medical information regarding                         6   and I just forget that maybe everybody doesn't know,
7    different medical conditions, correct?                                     7   that, hey, if you have these issues that Mr. Boudreaux
8        A.     Correct.                                                        8   has, you're much more likely to bleed in the
9        Q.     And that holds true for the remainder of the                    9   gastrointestinal tract, so if I didn't spell it out
10   paragraphs on page 7, right?                                              10   exactly, sometimes, you know, you just live in a world
11      A.      Right.                                                         11   where medicine is everything, you might forget to
12      Q.      So, in addition to including some demographic                  12   explain that in that way.
13   or medical history for him, that data comes with some                     13         Q.    So it's obvious to you, as a physician, that
14   explanation from you, right?                                              14   there were things about Mr. Boudreaux's underlying
15      A.      Correct.                                                       15   medical history that did put him at increased risk for
16      Q.      For Mr. Boudreaux, based upon the information                  16   having a GI bleed?
17   related to the status or function of his liver that you                   17         A.    Absolutely.
18   make some reference to at the top of page 7, are you                      18         Q.    The next paragraph, you talked about Mr.
19   suggesting that Mr. Boudreaux did or, in fact, does                       19   Boudreaux's dDimer result.            You see that on page 7?
20   have some liver disease that causes him to have an                        20         A.    I do.
21   underlying coagulopathy?                                                  21         Q.    And in this case, is it your view that Mr.
22      A.      No, I'm not.     I'm just saying his liver's not               22   Boudreaux's dDimer result is, similarly, a contributing
23   normal.                                                                   23   factor to his GI bleed?
24      Q.      But are you stating in this case, or going to                  24         A.    It is not a contributing factor to a GI bleed,
25   testify, that his bleed was, in any way, due to                           25   no.



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                                                                     Page 30                                                                           Page 32
1    underlying liver problems or insufficiency?                               1          Q.    Your view is that the dDimer was elevated when
2        A.     I'm going to testify that it is a contributing                 2    it was possibly because of the GI bleed; is that fair?
3    factor, or could be a contributing factor.                                3          A.    That's fair.
4        Q.     When you say that something's a contributing                   4          Q.    At the bottom of page 7, you talk about iron
5    factor to an outcome, such as a gastrointestinal                          5    deficiency.     Do you see that?
6    bleed, what are you talking about, or what does that                      6          A.    Yes, sir.
7    mean?                                                                     7          Q.    And is it your belief that Mr. Boudreaux, at
8        A.     So, you know, frequently, things aren't as                     8    some point in time, had an iron deficiency?
9    simple as always just one explanation.               There may be         9          A.    I mean, it's not my belief.             He has a low iron
10   multiple different issues going on that all contribute                    10   saturation.     It's a medical fact that he's deficient in
11   to an outcome, so it's not going to be as simple as,                      11   iron, so it's not a belief.            It's just a simple fact.
12   "This happened" -- you know, "X happened because of Y."                   12         Q.    And is it your belief that his iron deficiency
13   It's going to be, "X happened because of A, B, C", so                     13   was a contributing factor or cause to his GI bleed?
14   if it's a contributing factor, it's not the sole                          14         A.    No, sir.     Iron deficiency does not cause the GI
15   factor.    It's just part of the constellation of issues                  15   bleed.
16   that Mr. Boudreaux had that can contribute to this                        16         Q.    As a general matter for individuals or patients
17   problem he had.                                                           17   that have iron deficiency, would that be classified as
18      Q.      Anywhere in your report, do you explain or set                 18   a type of anemia?
19   out, or actually come out and state that you feel that                    19         A.    Yes, sir.
20   his liver disease was a contributing factor to his                        20         Q.    And for patients that do have anemia, including
21   gastrointestinal bleed?                                                   21   iron deficiency anemias, can those conditions cause the
22                 MR. SARVER:             Object to form.                     22   effects of a significant GI bleed to be more pronounced
23      A.      I'm not sure if I state that exactly.                I think   23   in certain patients?
24   I state that how his enlarged liver, which is a medical                   24         A.    Yes, sir.
25   fact, state how he had vascular congestion from                           25         Q.    So the consequences of a GI bleed of a certain



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                                                                     Page 33                                                                     Page 35
1    type in a patient with an anemia isn't anymore profound                   1    than it has been running, and it's lower than what
2    or exacerbated than a similar bleed in someone without                    2    normally would be expected in a male of his age, so
3    that anemia?                                                              3    we've got an abnormality here of his red blood cells.
4        A.   Correct.                                                         4        Q.   So when you see a patient of the medical
5        Q.   And what I'm getting at here -- I just want to                   5    history and demographic background like Mr. Boudreaux
6    understand -- you're not going to say that Mr.                            6    in a setting like this and see a hemoglobin of 13.8, do
7    Boudreaux felt as sick as he was or had certain                           7    you recommend any specific treatment?
8    consequences as a result of his bleed that was due to                     8        A.   I recommend it be evaluated, yes.            I mean, you
9    the iron deficiency itself?                                               9    know, Mr. Boudreaux is a patient that is paying me a
10       A.   No.                                                              10   lot of money to evaluate his health, and he has an
11       Q.   I want to make sure I understand specifically.                   11   abnormal lab value that wasn't abnormal before.
12   The hemoglobin that you reference there on page 7, the                    12   Absolutely, you've got to evaluate that.
13   hemoglobin of 13.8 at 11:42 a.m. on page 7.                Do you see     13      Q.    In this case, have you come to the opinion that
14   that in the third paragraph?                                              14   any healthcare provider has departed from the standard
15       A.   I do.                                                            15   of care in his treatment?
16       Q.   I just want to make sure that it's absolutely                    16      A.    I have not.
17   clear as to the date that you're talking about of that                    17      Q.    And so what would have been the appropriate
18   hemoglobin.                                                               18   workup to follow up on that hemoglobin of 13.8?
19       A.   Should be January 7, 2014.                                       19      A.    So, you know, as a hematologist, you know,
20       Q.   That hemoglobin on January 7, 2014 --                            20   there's different ways, there's different opinions in
21       A.   Uh-uh.    Right, I'm sorry.          I'm in today's year.        21   how to work up anemia.    None of them are better than
22   Right.                                                                    22   the other, but a standard anemia-type workup should
23       Q.   Okay, just so we're clear, then, that                            23   have been undertaken, based on his medical history.
24   hemoglobin of 13.8 was one that was drawn at 11:42 a.m.                   24   Certainly, in my opinion, the first test that should be
25   on January 7, 2014, right?                                                25   done is something called a reticulocyte count, which



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                                                                     Page 34                                                                     Page 36
1        A.   Correct.                                                          1   will tell me the effectiveness that Mr. Boudreaux is
2        Q.   What significance is there, if any, of that                       2   making blood, so I can determine is this a production
3    hemoglobin of 13.8 at that time?                                           3   problem or a loss problem.
4        A.   Sure, so, you know, the biggest significance of                   4       Q.   I take it you have -- at least you've not set
5    this is, looking back at his record, Mr. Boudreaux had                     5   forth an opinion in your report that Mr. Boudreaux
6    a normal hemoglobin.      His hemoglobin was normal.              I        6   should not have been taking any NOAC after January 7,
7    think I mentioned in the medical facts earlier, from                       7   2014, correct?
8    2002 to 2007, he ran from 14.4 to 15.4.              Subsequently,         8       A.   There's nothing in his medical record at that
9    he was up around -- over 14 at his last few doctors'                       9   time that suggests that he should not be placed on any
10   appointments.    He comes in here and his hemoglobin is                   10   NOAC, no.
11   low, you know.    We have a range in the lab that defines                 11       Q.   And a very specific question for you:               You
12   what normal is.   That range changes between men and                      12   have not expressed the opinion in your report, in
13   women and age.    We adjust that so that you have a range                 13   writing, where it states that if a certain type of
14   to tell doctors where a person's hemoglobin should be.                    14   workup would have been done, it likely would have
15   Hemoglobin is the body's ability to carry oxygen, and                     15   revealed a certain condition or disease state that
16   is the main protein in red blood cells, so a low                          16   would have made a NOAC prescription inappropriate?
17   hemoglobin, by definition, means anemia.               Anemia just        17       A.   I've not written that, no.
18   means that you have diminished oxygen-carrying capacity                   18       Q.   Let's go on to page 8.         Page 8 now is -- as
19   in the body.    Mr. Boudreaux comes in at presentation                    19   page 7 was, is a continuation of a mix of historical
20   with a hemoglobin of 13.8, which is lower than the                        20   data for Mr. Boudreaux, as well as some explanatory or
21   normal range -- it's certainly much lower than where he                   21   reference data that you've added, correct?
22   has been -- indicating that he's had a drop in his                        22       A.   Correct.
23   number of blood cells in his body, so this tells me                       23       Q.   On page 8, are you -- and here's why I want to
24   this gentleman has become anemic, you know for a --                       24   follow up on this:     You said that sometimes when you're
25   that's all it tells me, that his blood count's lower                      25   a physician, there's medical conditions or data that



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                                                                    Page 37                                                                            Page 39
 1   just seems so obvious that you that everyone will know                       1        A.      I talk about it for a couple reasons.              One is,
 2   it, and so sometimes you don't explain it directly.                     Do   2    yes, you know, it could be that he was bleeding without
 3   you remember when you said that?           Do you recall that?               3    knowing it, which I do believe was occurring in this
 4       A.      Uh-huh, yes, sir.                                                4    case, retrospectively, and also to talk about -- you
 5       Q.      So I just want to make sure, on page 8, is                       5    have these bleeds that are not apparent, that you can't
 6   there any information or -- that you've set forth in                         6    always find them, so occult bleeding can occur, and I
 7   page 8 where you are suggesting, at that time -- the                         7    think -- you know, I think Mr. Boudreaux has occult
 8   dates that are reflected there, for example, January                         8    bleeding.    I think that's important to mention.
 9   8th, January 9th -- that, at that time, Mr. Boudreaux                        9        Q.      Then, in terms of the medical data that you've
10   should not have been taking a NOAC?                                          10   looked at, have you stated anywhere an opinion in the
11       A.     No.   So, I mean, the issues with looking at a                    11   report where you've affirmatively stated when you
12   medical case like this, of course, is, you know, I get                       12   believe that occult bleeding started?
13   the luxury of having a medical record to pore over for                       13      A.      I've -- no, not made any statements to when the
14   hours and hours and hours to retrospectively look,                           14   exact date I think it started.          I just am confident it
15   knowing what the outcome already is.             I can't say what            15   started before he started on Xarelto.
16   I would do, moving forward, if I'm actively looking at                       16      Q.      Then, in terms of the depositions that you've
17   this.     His problem at the time is that he's having                        17   read in the Boudreaux case, let's look at that list for
18   atrial fibrillation and is short of breath.                I don't           18   a second.    So, in terms of the depositions that you've
19   fault the doctors for anything that they've done in                          19   read -- or based upon the depositions that you've read,
20   this case.                                                                   20   have you developed an understanding as to why or how it
21       Q.     So even with the benefit of retrospect, you,                      21   was that Xarelto was chosen for Mr. Boudreaux?
22   then -- you have not stated anywhere in your report in                       22      A.      I mean, I don't have the specific reason.                 I
23   writing that, in retrospect, you believe that Mr.                            23   think it was -- you know, the gentleman had atrial
24   Boudreaux should not have been on a NOAC at any point                        24   fibrillation.    He needed to be anticoagulated for that
25   in time?                                                                     25   purpose.    Obviously, based on the ROCKET AF data, as



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                                                                    Page 38                                                                            Page 40
1        A.     I don't state that, no.                                           1    well as the data we have with -- real-world data, it is
2        Q.     The hemoglobin data that you discuss on the top                   2    a very well-respected medication in the medical
3    of page 8, is it your opinion in this case that that                         3    community, a highly written drug.            It perfectly fit
4    information suggests that, on those dates, Mr.                               4    this gentleman's indication, so he was given the
5    Boudreaux was, in fact, experiencing some degree of                          5    medication, so, I mean, I think it was appropriate.                      My
6    gastrointestinal bleeding?                                                   6    assumption is that it was chosen -- I don't remember
7        A.     On those dates, no.      The dates of those                       7    reading the specifics on the cardiologist that started
8    hemoglobins -- I'm -- you have to be more specific.                     I    8    it, but he made the right -- I mean, he chose a good
9    talk about the 1/7, 1/8 hemoglobins, 1/9 hemoglobins,                        9    drug, so I have no problem with his decision.
10   but I also talk about the 5/5/12, 10/27/12, and 6/1/13                       10      Q.      And you would have had no problem with him
11   all in that same paragraph, so I'm not sure what you're                      11   being placed on any of the other NOACs, either,
12   asking.                                                                      12   correct?
13       Q.     Okay, so -- thank you for that.            So any of the          13       A.     I wouldn't have had any problem with him being
14   that information with a reference to the January 8th                         14   placed on Eliquis, no.       You know, I've personally not
15   hemoglobins or January 9th hemoglobins of 2014, are you                      15   had good experience, or, from what I read with Pradaxa,
16   using that data to suggest that, at that time, January                       16   am a big fan, but would any of those have been wrong?
17   8, January 9th in 2014, Mr. Boudreaux was having some                        17   Absolutely not.
18   degree of GI bleeding going on?                                              18       Q.     And a prescription of Pradaxa would not have
19       A.     Retrospectively, looking at this case, with all                   19   been wrong, in your view?
20   the information I have, you know, yes, I think he was                        20       A.     No.   Not at all.
21   bleeding prior to initiation of Xarelto.                                     21       Q.     You said that, based upon -- I want to make
22       Q.     And is that the reason that next paragraph on                     22   sure I understand.     You're not a big fan of Pradaxa.
23   page 8, where you talk about the issue of occult                             23   That's what you just said, right?
24   chronic GI bleeding, is that why you put that paragraph                      24       A.     Right.
25   at that time?                                                                25       Q.     And you said that's based upon one thing; it is



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1    based upon your own personal practice experience,                           1    treatments?
2    correct?                                                                    2        A.     Correct.
3        A.     Correct.                                                         3        Q.     You said that you'd have no problem with
4        Q.     And the other thing that you've said, or why                     4    Eliquis having been prescribed for Mr. Boudreaux.                      Why
5    you're not a big fan of Pradaxa is based upon what                          5    is it that you would not have had any problem with
6    you've read?                                                                6    Eliquis being prescribed for him?
7        A.     Well, yeah, right, based on the literature that                  7        A.     I think, you know, looking at Eliquis in this
8    supports what my experience has been.                                       8    situation, it's effective.           Don't have the side effects
9        Q.     And what has your experience been with Pradaxa?                  9    that you have with Pradaxa.           You know, both of these
10      A.      It's a very difficult medicine to take.                  It      10   are Xa drugs.      They do the exact same thing.              Eliquis
11   causes significant gastrointestinal distress in                             11   data is good.      You know, it doesn't matter to me; I
12   patients.    I mean, they just aren't comfortable, they                     12   think they're both the same drug, so you can
13   feel sick all the time.         I'm not here -- I'm here to                 13   essentially choose either one.
14   make people live longer, and I'm here to make people                        14      Q.      So I want to make sure I understand.                 When
15   live better.    If I can't achieve those two goals, I                       15   you're saying that they're both the same drug, and do
16   don't want to be part of it, so putting patients on                         16   the same thing or work the same way, you're talking
17   Pradaxa, and the GI upset and distress -- these are not                     17   about Eliquis and what other drug?
18   clinical bleeding and none of that that I'm talking to                      18      A.      Xarelto.
19   at all.    It's just the inability to take the medication                   19      Q.      So your view is that Eliquis and Xarelto,
20   without feeling sick to your stomach that makes me not                      20   because they're both Xa drugs, they're essentially the
21   a big fan of the drug.                                                      21   same, in your view?
22       Q.     Okay, and so that's the only reason that you're                  22       A.     Well, I mean, they're different medications, so
23   saying you're not a big fan of Pradaxa?                                     23   they give you options, but as far as what they do is
24       A.     Correct.                                                         24   the same, and, like we said before, there's no data --
25       Q.     Those side effects aren't experienced by every                   25   no direct head-to-head trials have been done, but when



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                                                                       Page 42                                                                          Page 44
1    patient that takes Pradaxa, correct?                                        1    you take the totality of the data from all the clinical
2        A.     No, not by every patient, but, again, it's a                     2    trials, yes, in my opinion, they're going to be equally
3    lot of patients, and why would I -- if I have -- that's                     3    efficacious, with equal risk.
4    one of the beautiful things about having options and                        4        Q.     So you think that Eliquis is effective in terms
5    choices in this new NOAC field, is that I don't have to                     5    of stroke prevention, right?
6    give a patient that drug that has a 35-percent                              6        A.     I do.
7    incidence of gastrointestinal upset.               That's a huge --         7        Q.     And Eliquis was actually, in its clinical
8    I've had more patients stop Pradaxa than I've had stop                      8    trials, found to be superior to Warfarin for stroke
9    chemotherapy.    I think that should let you kind of know                   9    prevention, correct?
10   how difficult that drug is to take.                                         10      A.      So in the Eliquis trial, it's a different --
11      Q.      And as a result, that's formed -- or that's                      11   yeah, they did a low CHAD score, so they treated a
12   affected your prescribing habits?                                           12   different -- in their patient population, which is
13      A.      Yeah, I'm not -- I'm speaking to medical facts.                  13   completely different than the ROCKET patients, and the
14   You can look at the Pradaxa package insert.                  There's a      14   way their trial was designed, it did show an outcome
15   21-percent discontinuation rate in the original trial.                      15   that, for the effect for low-CHAD-score patients, that
16   There's certainly a lot of literature that shows it's                       16   it is superior to Warfarin, yes.
17   even higher than that.         We know that there's a                       17      Q.      And you said that the data on Eliquis is good,
18   35-percent adverse incident effect that's reported by                       18   correct?
19   patients.    I mean, personally, as a physician, I don't                    19       A.     Yes, it's good.
20   like giving patients that drug that 1 out of 3 are                          20       Q.     At one point, you said they're the same drug,
21   going to have a significant toxicity to, so that's why                      21   and I just want to make sure that I understand that.
22   I'm not a fan.                                                              22       A.     Yeah, I don't mean to say they're the same
23       Q.     And so my point is, so, for newly-diagnosed                      23   drug.    I'm just saying --
24   atrial fibrillation patients, that's why you don't,                         24       Q.     Well, you said it, and that's why I'm asking
25   yourself, prescribe Pradaxa as one of your first-line                       25   what did you mean by --



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1        A.   Yeah, let me clarify that.           Obviously, they're         1    Certainly, you could have a perforated ulcer that
2    not the same drug, clearly.        They do the same thing,               2    could result in bleeding out, and possibly even death,
3    as far as their mechanism of action.            You know, when           3    so there's a huge spectrum of GI bleeding.                 Some of it
4    you look at various patient populations, they're highly                  4    is just, "Oh, by the way, Doctor, I'm on your study,
5    effective, very low-risk medications that have very                      5    and I saw some blood on the toilet paper", to, "I'm in
6    good pharmacologic profiles, they're both                                6    the hospital because I'm bleeding profusely."                   There's
7    wide-therapeutic-index medications that don't have to                    7    a wide spectrum of bleeds there.
8    be monitored, as we discussed yesterday, so, I think,                    8        Q.     For those patients at that end of the spectrum,
9    in that sense, I consider them in the same class of                      9    a GI bleed can be a very significant adverse health
10   medications, and, to me, it's no difference if you                       10   spectrum for them?
11   choose one or the other for the indication.               I think        11       A.     At which end of the spectrum?
12   your outcomes are going to be pretty much exactly the                    12       Q.     The more severe end of the spectrum.
13   same, regardless of which one you choose.                                13       A.     Yes, sir.
14      Q.    So that laundry list of positive things that                    14       Q.     You've seen that in your hospitals?
15   you stated, you were absolutely of the mind that those                   15       A.     Correct.
16   things are true about Eliquis?                                           16       Q.     Do you believe that the issue of
17       A.   Yes.                                                            17   gastrointestinal bleeding is a key issue to consider
18                MR. SARVER:            Brad, do you mind taking a           18   when assessing the risk/benefit tradeoffs when deciding
19   coffee-elimination break?                                                19   whether to anticoagulate a patient for atrial
20                MR. HONNOLD:           No, I'm all in favor.                20   fibrillation?
21                VIDEOGRAPHER:          Off the record at 10:28.             21       A.     So, to make the decision to anticoagulate yes
22                     [Short recess was taken.]                              22   or no, you know, if a patient has a known or active GI
23                VIDEOGRAPHER:          The approximate time is              23   bleed, has peptic ulcer disease or a high risk to
24   10:30 a.m.   We're back on the record.           Tape number 2,          24   bleed, yes, you're going to try to opt to not
25   deposition of Dr. Scott Boniol.                                          25   anticoagulate that patient.           Anyone who's had an



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                                                                    Page 46                                                                          Page 48
1    BY MR. HONNOLD:                                                          1    occult bleed or had a GI bleed where you can't find the
2        Q.   Doctor, we're back on the record after a short                  2    source of the GI bleed to fix it, you're not going to
3    morning break.    Do you agree that gastrointestinal                     3    anticoagulate that patient with any type of
4    bleeding is a significant source of morbidity amongst                    4    anticoagulation.
5    patients taking anticoagulation drugs?                                   5        Q.     As a general matter, does significant
6        A.   You know, if you have one, it is, but as far as                 6    gastrointestinal bleeding have a poor prognosis
7    it being significant, you know, the relative rarity of                   7    amongst the elderly?
8    it is, I don't think it's significant to all patients,                   8        A.     I mean, my assumption would be yes, but                  that's
9    but, certainly, the ones that have the bleeds, it's                      9    not my strength.      A lot of times, common sense in
10   significant morbidity, but with the rarity of the                        10   medicine doesn't end up making out, so I'm not aware of
11   events occurring, not to the patient population as a                     11   any literature that says that, but I'm not a
12   whole, no.   I wouldn't agree with that.                                 12   gastroenterologist.        I would refer you to a
13      Q.    A GI bleed in a patient taking anticoagulation,                 13   gastroenterologist to answer that question.
14   though, certainly can be a significant event for that                    14      Q.      Why would you refer that issue to a
15   individual patient?                                                      15   gastroenterologist?
16       A.   It can.    We talked about this yesterday.               You    16       A.     That's their specialty.
17   have to realize a GI bleed is any bleed that occurs                      17       Q.     So, on that particular issue, would you defer
18   lips to anus, so, certainly, hemorrhoidal bleeding                       18   to a board certified gastroenterologist?
19   would be included in there, which is a very mild, more                   19       A.     On the mortality of elderly and bleeds, yes.
20   of a non-issue for a lot of people, hemorrhoidal                         20       Q.     And, in addition, not just the mortality, but
21   bleeding.    If I want an anticoagulant -- if I'm in a                   21   as to the relative prognosis of GI bleeding in the
22   study of an anticoagulant, and I bite the inside of my                   22   elderly?
23   mouth and start bleeding, that's reported as a GI                        23       A.     General -- yeah.        I mean, I would think that --
24   bleed, as an adverse event, so we talked about                           24   what would happen in my hospital is, there would be a
25   yesterday.   There's a huge spectrum of a GI bleeding.                   25   discussion with gastroenterology.              There would be an



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1    intellectual discussion.     Again, medicine's not as                   1   ROCKET, so, you know, I'm more -- so assuming that, as
2    black-and-white as you want to make that, but, as a                     2   other trials came out, large, huge trials that did not
3    general rule of gastroenterology, you know, for                         3   know an increased risk of GI bleeds, they may have
4    non-anticoagulated patients with severe bleeds probably                 4   changed the label, yes.
5    know more about the natural pathogenesis than I do,                     5       Q.      You're saying they may have changed the label
6    because I wouldn't see them.                                            6   if the larger clinical trials did show different data
7        Q.   You said it was your assumption that GI                        7   about GI bleeds?
8    bleeding in the elderly would have a poorer prognosis.                  8       A.      Right, so I think, you know, the more data you
9    Why is that your assumption?                                            9   get -- they may have changed the -- I don't know that
10      A.    Well, we know for a fact in medicine, you know,               10   they did.    I think the way they have it labeled out,
11   that when issues occur, the older we get, the harder it                11   the last time I remember reading the label, is they
12   is for us to recover.    Certainly, the older we get, the              12   have the bleed rates on each individual trial clearly
13   more problems we have.    We tend to develop heart                     13   listed in the label, in the package insert, so I think
14   problems, blood vessel problems, and so I would assume,                14   the only change they made to the label was adding the
15   the older you are, the -- if you have a GI bleed, it's                 15   new information, but the old information remained, so
16   going to be harder to recover than if you're younger.                  16   I think they were very -- you know, I think it's very
17   That's my assumption.                                                  17   transparent, and very open and honest with physicians
18       Q.   In the slides that you used in the                            18   that that, you know, there was a higher rate of GI
19   presentations that you made to physicians for Xarelto,                 19   bleeds on ROCKET.       I mean, I think that that's a
20   did they vary over time, in terms of what those slides                 20   well-known thing.       The company made that very clear.
21   said about the incidence or occurrence rate of GI                      21   It's in the data.       You can't ignore the data, and it's
22   bleeding in patients on Xarelto?                                       22   there, so I think we've always, as a medical community,
23       A.   No, they did not change, because I would                      23   been aware of that fact.
24   present the clinical trial data that doesn't change.                   24       Q.     Who makes apixaban?          Do you know?
25       Q.   Do you know the issue of how the rate or                      25       A.     It is -- I know it is co -- it's Pfizer and



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                                                                  Page 50                                                                          Page 52
 1   incidence of GI bleeding, how it was described or set                  1    Bristol Myers, so I don't know who -- if they both
 2   forth in the various labels over time for Xarelto,                     2    manufacture it, or if one company manufactures it and
 3   whether it changed?                                                    3    they co-promote it.        I know, on the label, it's both
 4       A.   I do not know, specifically.           Again, I was not       4    Pfizer and Bristol Myers.          I believe Bristol Myers
 5   -- not being a cardiologist, I did not really get                      5    probably makes the majority of the drug.
 6   involved in speaking, you know.         Initial indication was         6        Q.     And have you, on occasion in the past, been
 7   based on the RECORD trials.       I would assume, as we got            7    visited by sales representatives regarding apixaban or
 8   more information, that the label would change.               I can't   8    Eliquis?
 9   say that it has or not.     I don't know.                              9        A.     I have.
10       Q.   At the beginning of that statement you just                   10      Q.      And have you spoken with those sales
11   made, you said, "I wasn't a cardiologist", so --                       11   representatives on a regular basis over the past few
12       A.   So I did not speak when I -- you know, when                   12   years?
13   Xarelto first came on the market for orthopedic                        13       A.     I have -- well, maybe every four to six months.
14   indication, and then as it came on for atrial                          14       Q.     And you have -- before today, you have
15   fibrillation, as a hematologist, even though we know                   15   prescribed Eliquis for some patients, correct?
16   all about the anticoagulation of the experts on the                    16       A.     Correct.
17   blood, you know, I didn't become intimately involved                   17       Q.     And the types of patients or conditions that
18   with prescribing the medication until the DVT and                      18   you've prescribed Eliquis for patients, what have they
19   pulmonary embolism, or the EINSTEIN trial came out.                    19   been?
20   That really hit home to me, because that's what I do on                20       A.     For the most part, what I prescribe for would
21   a day-to-day basis, so even though I was very familiar                 21   be DVT, pulmonary embolism, or prevention of
22   with the drug, it didn't become a part of my reality in                22   thromboembolic disease.
23   my day-to-day life until EINSTEIN.          As I'm sure you            23       Q.     When the sales representatives for Eliquis
24   know, when you look at the EINSTEIN trial, the                         24   come and speak to you, do they present to you any
25   incidence of GI bleeds is not seen like it was in                      25   specific data on the issue of the rate or incidence of



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1    gastrointestinal bleeding in patients who take                          1    you want to go?     I'm sorry, but you're going to have to
2    Eliquis?                                                                2    participate in your medical decision-making, here.                       I
3        A.     Right, no, I've actually asked them this                     3    can't make the decision for you", and that's my
4    question directly.    I've asked multiple representatives               4    approach to that.
5    from Eliquis, you know, "Is GI bleeding rates less with                 5         Q.    So, I take it that, when you get involved in
6    Eliquis than Xarelto", and their answer's always, "We                   6    those situations, you do not state or suggest that
7    can't answer that.    The trials have never been                        7    there might be a preferred agent when GI bleeding is
8    head-to-head, so I cannot say that the bleeding rate's                  8    an important consideration in making a treatment
9    any different."    I've asked them that specific                        9    decision --
10   question.   Clearly, they do not promote Eliquis as                     10        A.    And you know, we've read about this.                We've
11   having a lower GI bleed rate, at all.                                   11   looked at everything.       You know, we've looked at all
12      Q.      As you sit here today, can you think of any                  12   the data, we have open discussions about this with
13   type of patient population where GI bleeding would be                   13   different doctors in medicine.           Like I told you, you
14   an important consideration in guiding treatment                         14   know, we ask the drug -- the pharmaceutical guys if
15   decisions, especially for atrial fibrillation?                          15   they have any data, you know, "Hey, apixaban rep, your
16      A.      Yeah, so I mean, I think, specifically, if a                 16   trial of very healthy people showed a lower incidence
17   patient has a history of GI bleed, or if they have an                   17   of GI bleeding than the trial with very sick people.
18   occult GI bleed, you know, it's going to be a                           18   I've got a guy who's in the middle.             Is your drug
19   risk/benefit thing -- and I get in the middle of this                   19   better?"    "No, I cannot say that."           They'll tell me
20   all the time.    I would say, at least once a month, I'm                20   that all the time, so all we can do, all we know for a
21   called in because cardiology wants the patient                          21   fact is that we either have to make the decision, yes,
22   anticoagulated.   GI, as we talked about earlier we're                  22   anticoagulate, or no, and so based on GI bleed and the
23   going to defer to GI, they have their guidelines.                       23   need for anticoagulation, it's a simple part for me to
24   They want the patient not anticoagulated.              Well, the        24   answer, is either yes or no, and, ultimately, the
25   problem is the patient needs to be anticoagulated for                   25   parent's going to have to participate in that



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1    their cardiac problems, and cardiology's insisting that                 1    decision-making, because there is risk on both sides,
2    they're anticoagulated, and GI's insisting they're not                  2    and, unfortunately, in medicine, we can't eliminate all
3    because of their occult bleed that nobody can find and                  3    risks.     We never can.    That's just part of what I do
4    fix, and so I get called in to be the tie-breaker or                    4    for a living.      I'm resigned to the fact that I'll
5    the referee all the time, and so you have experts over                  5    never be able to have a patient have zero risk for
6    here in cardiology saying 100-percent, you've got to                    6    anything I do.
7    anticoagulate.    You've got your experts in guidelines                 7                  MR. SARVER:             Doctor, while he's
8    in GI saying, "No way you can anticoagulate this                        8    looking for the next exhibit, let Mr. Honnold finish
9    person", or "We have these recommendations", but, at                    9    his question before you start answering.
10   the end of the day, the question is -- it's a light                     10                 THE WITNESS:            I'm sorry.        I just get so
11   switch.    It's very black-and-white.          Either you               11   excited.    It's a great day to learn hematology.                 The
12   anticoagulate or you don't.        There's no choice.           It's    12   weather's nice.     We're right where we need to be.
13   not, like, "Oh, well, let me choose Coumadin", or "Let                  13   BY MR. HONNOLD:
14   me choose this", or "Let me choose that."              It doesn't       14        Q.    Let me hand you what's been marked as Exhibit
15   work that way.    The answer is:       Yes or no?                       15   2.   For the record, Exhibit 2 is a paper that has been
16   Anticoagulate, yes or no?       That's it, and so there's no            16   described as an accepted manuscript called
17   medication that I can sit there and say, "This is a                     17   "Gastrointestinal Safety of Direct Oral Anticoagulants
18   better choice for this reason."          No.    We have to say          18   - A Large Population-Based Study", by Abraham and
19   "Do we anticoagulate; yes or no?"          That's what I'm              19   others.    My first question for you, Doctor, about this
20   called in to do, and, at the end of the day, it's a                     20   is whether this paper or article is on your reference
21   discussion with the patient, and I have to just lay                     21   list.
22   out with them, "This is your risk of having a stroke                    22        A.    It is not.
23   if we don't anticoagulate you.         This is the risk of              23        Q.    Can I ask you a basic question while you're
24   what could happen if you have a GI bleed.              I'm here for     24   looking at that?      Hopefully, it's not one that --
25   you.   You need to be educated on this.            Which way do         25        A.    Sure.



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                                                                     Page 57                                                                      Page 59
1        Q.     -- will confuse you too much.             Generally, is        1    medical staff at Christus, your primary --
2    The Mayo Clinic a respected -- generally, a respected                     2        A.    Yeah, they're members of -- they're not
3    institution?                                                              3    employed by Christus, but they're members of the
4        A.     Yes.                                                           4    medical staff, and provide consultation and endoscopy
5        Q.     Respected for its reputation for patient care,                 5    services on campus.
6    certainly?                                                                6        Q.    Does Christus have employed
7        A.     Absolutely.     The Mayo Clinic is a very good                 7    gastroenterologists?
8    institution.                                                              8        A.    Not at my campus, no, sir.
9        Q.     It's respected for its research capabilities?                  9        Q.    In terms of the methods or methodology set
10      A.      Yes.   Absolutely.                                             10   forth in Exhibit 2, how is it that the authors describe
11      Q.      As a general matter, is The Mayo Clinic viewed                 11   their methodology?
12   as being one of the leading hospitals in various                          12      A.     So it looks like what this group of physicians
13   medical specialties?                                                      13   did was get information on patients through a
14      A.      It is.                                                         14   centralized supply warehouse who received prescriptions
15      Q.      Is The Mayo Clinic generally recognized as an                  15   for one of the NOACs, and were able to then
16   outstanding institution for the delivery of                               16   retrospectively look at the patients who got a
17   cardiovascular disease care?                                              17   prescription for either -- it looks like, in this
18      A.      I'm not 100-percent certain on that.                I know     18   trial, they looked at dabigatran, rivaroxaban or
19   they're very good at diagnosing things.               I've never          19   apixaban from October 1, 2010, to February 28, 2015.
20   seen their data on how good their cardiovascular care                     20   They then did a search on these patients based on the
21   is, no.    I'm not saying they're not.            I just don't            21   procedure codes, diagnoses codes, based on medical
22   know.                                                                     22   claims that were made, to look at rates of GI bleeding.
23      Q.      Are they generally well-respected in your area                 23      Q.     Then in Exhibit 2, tell me specifically, what
24   of practice, that being hematology and oncology?                          24   were the pages or area within Exhibit 2 that you are
25      A.      Their Rochester campus is, I think by far,                     25   looking at for that information?



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                                                                     Page 58                                                                      Page 60
1    considered the go-to for hematology/oncology.                             1        A.    The majority of this information comes from
2        Q.     When you say they're considered to be the                      2    page 6.
3    "go-to", or the Rochester campus is considered to be                      3        Q.    This methodology where researchers might look
4    the "go-to" for hematology --                                             4    at information that is derived from health insurance
5        A.     As far as The Mayo Clinic campuses, that's the                 5    databases, have you seen other research done in a
6    preferred one.      Obviously, in our area, there are much                6    similar manner?
7    better -- there are much better hematology/oncology                       7        A.    You know, I have.      I try not to read these
8    institutions and centers than Mayo that we send to, but                   8    types of articles, because there's -- you know, there's
9    they're very well respected, yes.                                         9    no validation included, and so many mistakes can happen
10      Q.      Exhibit 2, have you seen that paper before                     10   with coding and other things.         I don't think that
11   today?                                                                    11   anybody'd consider these to be a gold standard-type
12       A.     No, sir.                                                       12   trials.   They -- the best thing that this article could
13       Q.     I take it, in your practice, you probably do                   13   do, just based on methodology, is bring up a question
14   not routinely review the Journal of Gastroenterology?                     14   that needs to be asked to an actual clinical trial,
15       A.     You are correct.                                               15   so, you know, the amount of weight I would give to a
16       Q.     Who are gastroenterologists on your medical                    16   study of this, as far as an impact -- not just me.                     I
17   staff that you respect enough or have enough faith in                     17   think anybody, when you look at impact of clinical
18   to send a family member to for treatment?                                 18   care ratings on an article like this, they're very low.
19       A.     You know, we use Arthur Poch, P-O-C-H; Mark                    19               MR. HONNOLD:            I move that be stricken
20   Provenza, P-R-O-V-E-N-Z-A.         We use Sid Jaganmohon.                 20   as nonresponsive.
21   I'll let you spell that one.          Dr. Aguilar.        There's         21   BY MR. HONNOLD:
22   David Dies, which is D-I-E-S.           There's a lot of really           22      Q.     My question for you was:         Have you seen other
23   good ones in town that we refer to a lot.                James            23   medical articles written based upon an analysis or
24   Morris, at the medical school is really good.                             24   inquiry on health insurance data?
25       Q.     Are some of those physicians members of the                    25      A.     I've seen them, but, as I just said, I don't



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                                                                     Page 61                                                                            Page 63
1    really read them because of their low impact on                               1        A.   Well, the fact that they say that this will
2    clinical practice.                                                            2    undergo review, and the fact there's no peer review
3        Q.    Have you seen data where Bayer or Janssen has                       3    listed where it should be on a peer-reviewed article, I
4    done similar studies based upon health insurance data?                        4    think it's pretty safe to say this has not been
5        A.    I have.                                                             5    peer-reviewed, yes.
6        Q.    For example, the XALIA, X-A-L-I-A, is a study                       6        Q.   Your -- what's the particular journal for your
7    that's, in part, based on health insurance --                                 7    professional -- primary professional society or
8        A.    In part, based on that, but, again, it's a                          8    organization?
9    prospective, rather than retrospective, trial.                                9        A.   We use the Journal of Clinical Oncology and
10   Certainly, we know, as we discussed even with the case,                       10   Blood, which is the journal of the American Society of
11   that, prospectively, those trials are a lot less                              11   Hematology.
12   likely to be biased in retrospective, as in the case                          12       Q.   Have you ever been a stated editor or assistant
13   with this trial, so we prefer prospective over                                13   editor of any of those publications?
14   retrospective every time we can get it.                                       14       A.   No, sir.     I don't have time.
15      Q.     Does it appear, from looking at this accepted                       15       Q.   And do you know, for those journals for your
16   manuscript, that it would have been subjected to some                         16   professional societies, as to whether articles are
17   peer-review process?                                                          17   generally subjected to peer review before they are
18      A.     It should have been, yes.                                           18   accepted for publication?
19      Q.     And why do you say "it should have been"?                           19       A.   Not always.      It just depends on what type of
20      A.     I'm not familiar with Gastroenterology                              20   article it is.    Obviously, if it's going to be a
21   Journal, but I'm assuming that they would peer-review.                        21   practice-changing article, yes, it's going to be
22   I don't see anywhere where it says it was peer-reviewed                       22   peer-reviewed before they can accept it for
23   here, so I just have to assume.            I mean, if you can                 23   publication.    Anytime it is a prospective study of some
24   direct me to where the people who peer-reviewed it are                        24   question that we're trying to answer, yeah, they're
25   listed, I'd be happy to look at that, but, certainly,                         25   going to peer-review it before they accept it for



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                                                                     Page 62                                                                            Page 64
1    I don't see anywhere where it's peer-reviewed on the                           1   publication.     These retrospective kind of just
2    accepted manuscript pages 1 and 2, but, again, I'm not                         2   chart-review things, they might accept them beforehand.
3    -- as I said earlier, I'm not familiar with this                               3   It appears, in gastroenterology, that they do.
4    journal, so I don't know how they could say that.                              4       Q.   If you go to page 11 of Exhibit 2, do you see
5    There's a disclaimer on the title page that says,                              5   the subheading that says "Sensitivity Analysis"?
6    "This is an unedited manuscript.            We're providing this               6       A.   I do.
7    early version prior to being published."                It looks               7       Q.   And then do you see the sentence immediately
8    like they're going to have to review, copy-edit, and                           8   above "Sensitivity Analysis"?
9    typeset, so I think, based on that, it's pretty clear                          9       A.   The one that says, "Most pronounced ARR in GI
10   that this has not been peer-reviewed.                                         10   bleeding was seen when apixaban was compared to
11      Q.     It appears it's been accepted for publication,                      11   rivaroxaban, highlighting the least favorable GI
12   or you can't tell?                                                            12   profile of rivaroxaban"?         That one?
13      A.     I'm looking at the -- if you look at the first                      13       Q.   You see that sentence?
14   page, it says, "This pdf file of an unedited                                  14       A.   I do.
15   manuscript that has been accepted for publication.                       As   15       Q.   Okay, just within the context of this paper as
16   a service to our customers, we provide this early                             16   you've looked at it, what is the -- the stated meaning
17   version of the manuscript.         The manuscript will undergo                17   of that sentence, as you read it?            Within the context
18   copy-editing, typesetting, and review" -- I don't know                        18   of this paper.
19   if that's peer review or not -- "of the resulting                             19       A.   Yeah, so looking at this paper, you know, they
20   proof."   I don't know if they're just going to review                        20   -- you got to look at all -- looking at this thing as a
21   the typos or not -- "before it is published in its                            21   whole, you know, the biggest issue you have, obviously,
22   final form", so based on what you've given me, this has                       22   is, patients who are prescribed Xarelto tend to be your
23   not been peer-reviewed, no.                                                   23   high CHAD score, higher-risk-for-bleeding patients,
24      Q.     That's your conclusion, based upon at least                         24   just based on the fact that that's the population that
25   just looking at the face of the study?                                        25   was studied.     They don't break down any of these



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                                                                     Page 65                                                                          Page 67
1    patients in the CHAD score risk stratification, so                        1    practice at all?      No.     I mean, they clearly don't say,
2    based on -- nor do they say -- they reveal the -- at                      2    "Hey, based on this, do this."            I mean, they don't say
3    least that I have -- the severity of GI bleed, so what                    3    anything.    They don't come to any conclusion, they
4    I read into this is, you know, not stratifying or                         4    don't come to any -- "Here's our guidelines.                  Here's an
5    correcting for patient population differences, or for                     5    algorithm you can use."         None of that's in here.             All
6    severity of bleeds, just in those that are reported by                    6    they say is, "Hey, you know what?              If you look at a
7    ICD-9 data, that there is a difference in bleed --                        7    whole bunch of charts that we don't validate,
8    safety profiles between rivaroxaban and apixaban.                  I      8    retrospectively, based on some ICDN data, here's a
9    think, again, it's a small sentence making a conclusion                   9    little piece of information that may or may not be
10   that has no bearing on anything I would ever do.                          10   interesting."    I happen to not find it very
11      Q.     So that data, those findings, those statements                  11   interesting.
12   by these physicians at The Mayo Clinic would have no                      12       Q.     Again, I'm not saying anything other than what
13   effect upon your prescribing practices?                                   13   it is.    My only question for you this past five minutes
14      A.     I mean, absolutely not.          I think if you want to         14   has been:    Is Exhibit 2, as you see it today for the
15   ask me that question, I think we need to discuss this                     15   first time, would not cause you to alter or change
16   whole article.     I mean, I think we need to talk about                  16   your prescribing practices with NOACs, correct?
17   the fact that, number one, there is -- they tell me no                    17       A.     Right, and I understand, but I just gave an
18   information on, you know, how -- how the physicians                       18   explanation as to why my answer is no, this would not
19   decided to prescribe different medications to the                         19   change my practice of prescribing NOACs, for the
20   different patients.      You know, are they the same                      20   reasons I just stated.
21   patient population?      There's no way you can -- there's                21       Q.     Exhibit 2 would not change your practice of
22   no area that they validated any of this.               There's no         22   prescribing --
23   way of looking at any of this as far as, you know, are                    23       A.     Absolutely not.
24   doctors more likely to prescribe high-risk GI bleed                       24       Q.     -- NOACs, based upon all the things that you've
25   patients rivaroxaban or not?         Again, this is not a                 25   stated, correct?



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                                                                     Page 66                                                                          Page 68
 1   head-to-head trial, so I can't make any -- there's no                     1        A.     Correct.
 2   conclusions I can make of this, other than it would --                    2        Q.     There's no doubt in your mind that Mr.
 3   maybe this needs to be looked at in a clinical trial.                     3    Boudreaux had atrial fibrillation, correct?
 4   Maybe.                                                                    4        A.     No.   He had -- yeah, I agree; no doubt in my
 5       Q.    I'm not saying that it is any more or any less                  5    mind.
 6   than what it is --                                                        6        Q.     And, as a result, there's no doubt that he
 7       A.    Right.                                                          7    needed to be prescribed some form of anticoagulation,
 8       Q.    -- but I'm just saying this information, as                     8    right?
 9   you've seen it for the first time today, your sense is                    9        A.     Again, like we -- there's no doubt in my mind
10   that it would not influence or cause you to vary your                     10   that the recommendation should be to anticoagulate this
11   practice or prescribing --                                                11   gentleman in the event that there's no contraindication
12       A.    Not at all.      I think, when you look at this,                12   to doing so.
13   you know, the biggest thing that I have as a                              13       Q.     And, based upon your review of all his medical
14   hematologist that prescribes anticoagulants, is,                          14   records and data, there wasn't anything to suggest
15   you're looking at one side effect.             Maybe GI's just            15   that anticoagulation was contraindicated in him, or
16   interested in gastrointestinal.            I'm not.      I'm              16   even relatively contraindicated?
17   interested in a persona.         I'm interested in a patient.             17       A.     Not on January 7, 2014, no.
18   They have a GI tract.       They also have a pulmonary area               18       Q.     When you prescribe Xarelto for patients, do you
19   or digestive tract, they have a brain, they have all                      19   suggest to them that they should not take fish oil?
20   kind of places that can bleed.           I'm not worried about            20       A.     You know, I don't necessarily -- as an
21   one particular side effect.          Globally -- I take care of           21   oncologist treating cancer patients, we take all the
22   patients and people.       I don't take care of GI tracts,                22   patients off of fish oil if they have cancer.
23   so I need to know all the side effects, all the data,                     23   Usually, as a rule, I will tell them, "If you're on
24   so, you know, this may be of some interest to a GI                        24   fish oil and you're on Xarelto, your bleeding risk is
25   doctor.   Do they suggest anything in here to change                      25   going to be higher", so I will counsel them as to what



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                                                                    Page 69                                                                       Page 71
1    their risks and benefits are for taking fish oil with                    1    coagulation proteins enough.        It's possible,
2    Xarelto.    Fish oil, itself, is an anticoagulant, and,                  2    especially with his joint pain and things of that
3    regardless of what anticoagulant a patient's on -- if                    3    nature, that he's developed an inhibitor to one of the
4    they're on Eliquis, Xarelto, Pradaxa or Coumadin, I                      4    factors associated with the extrinsic pathway.                It's
5    counsel them that their bleeding risk will be                            5    possible that he has a degree of rivaroxaban in his
6    increased while on fish oil and an anticoagulant of any                  6    plasma that would result in his PT being slightly
7    kind.                                                                    7    elevated.    It's possible that there's laboratory
8        Q.     So, in terms of the medications that Mr.                      8    error.   That's a pretty complete list of what I would
9    Boudreaux was on, in terms of ones that had potential                    9    think, off the top of my head, would be going on.
10   anticoagulant effects other than Xarelto, you'd include                  10      Q.      Do you know what time of day -- did you state
11   aspirin and fish oil?                                                    11   what time of day that lab was drawn?
12       A.     And indomethacin, as well.                                    12      A.      No, sir, I do not state what time of day, and I
13       Q.     The paragraph that you reference on page 9                    13   don't recall -- I looked at it when I put it in there.
14   about January 10, 2014, when Mr. Boudreaux was back in                   14   I just don't recall the exact time of day.
15   the clinic, is that all information that came from his                   15      Q.      As compared to the time that the blood was
16   medical records?                                                         16   drawn, do you state anywhere in your report, based
17       A.     Yes, sir.                                                     17   upon the data that you've reviewed in this case, when
18       Q.     Anywhere in your report, do you set forth a                   18   his last time of ingestion of Xarelto was?              And again,
19   statement or opinion that Mr. Boudreaux was bleeding                     19   I'm just asking do you state in your report when he
20   on January 10, 2014?     And my question is just limited                 20   last took the drug.
21   to the words --                                                          21       A.     I do not.
22       A.     I do not say that in my report, no.                           22       Q.     The data that you've looked at for Xarelto
23       Q.     Then if you go to the next paragraph on page 9,               23   related to PT, have you seen any data to suggest that,
24   is all of that -- does all of that information come                      24   over the post-dose time course for PT, that the PT
25   from Mr. Boudreaux's medical records?                                    25   will tend to trend down from the time of peak to the



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                                                                    Page 70                                                                       Page 72
 1       A.     Everything but the last sentence.                              1   time of -- just before the next dose?
 2       Q.     When Mr. Boudreaux had his PT measured on                      2       A.      So, you know, I've seen plenty of data that
 3   February 3rd of 2014, he had a PT of 13.6, correct?                       3   shows that the PT correlates to the plasma rivaroxaban
 4       A.     Correct.                                                       4   level, as we agreed on yesterday, again, and I've also
 5       Q.     And do you know what reagent was used in the                   5   seen data that shows plasma rivaroxaban levels
 6   performance of that PT test?                                              6   decreasing over time, so, yes, it appears that one
 7       A.     I do not.                                                      7   could surmise that, the farther away you go from
 8       Q.     Have you, yourself, done anything to determine                 8   dosing of Xarelto, the lower -- after the peak, of
 9   what reagent was used?                                                    9   course, which is expected to occur two to four hours
10       A.     No, sir.                                                      10   after taking the drug, that you would see a continued
11       Q.     For example, you've not picked up the phone                   11   steady decrease in the PT with time.
12   and maybe called some physician that you know on that                    12       Q.      And then working backwards from a point in
13   medical staff and asked them what reagent they've used?                  13   time, then, you would, similarly, be able to walk back
14       A.     No, sir.                                                      14   up that slope towards the time of last use, in terms of
15       Q.     And in terms of the laboratory measure at the                 15   seeing an increased PT?
16   hospital for PT, was that 13.6 an elevated number, or a                  16       A.      Yes, you should be able to do that.
17   number that was within the normal range?                                 17       Q.      And the data that you've seen in that regard,
18       A.     It's a slightly elevated number.                              18   does that come from the ROCKET trial?
19       Q.     Based upon all of the medical records that you                19       A.      I've not seen that data from the ROCKET trial.
20   reviewed for Mr. Boudreaux, what are the possible                        20   I'm not saying it doesn't exist.           I just haven't looked
21   causes or explanations for that PT being slightly                        21   at that.    Certainly, that wasn't included in the big
22   elevated on that date and time?                                          22   publications of the ROCKET trial.           I've seen that more
23       A.     So the possible causes would be -- again, we                  23   so, like we discussed yesterday, with the FDA briefing
24   discussed he has a little bit of issues with his                         24   documents, with the Mueck article of pharmacodynamics
25   liver, so it's possible that he's not making his                         25   and pharmacokinetics, and its -- you know, that



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                                                                     Page 73                                                                       Page 75
1    diagram, that graph, tends to show up in several other                    1    would be a safer drug if it was given once a day,
2    articles here or there.                                                   2    because, then, as compared to twice a day, it would
3        Q.     You said something yesterday -- well, strike                   3    have lower troughs?
4    that.    What is your understanding in terms of -- well,                  4        A.     Right, so, I mean, I think what you look at,
5    strike it again.    I've got to come up with a better                     5    say, dosing Eliquis once a day, obviously, you're going
6    question for you.     I'm sorry.                                          6    to probably have to -- you're going to have to pick a
7        A.     That's okay.                                                   7    different dose than giving it twice a day on that
8        Q.     Eliquis, how is it dosed?                                      8    particular drug, but, right, so the half-life of the
9        A.     It's dosed twice a day.                                        9    drugs is different, the affinity of binding is
10      Q.      And based upon all the data or information that                10   different, you know, the oral bioavailability is
11   you've looked at in your practice, does, as a result,                     11   different, the elimination is different, so if you take
12   Eliquis tend to have higher trough levels than Xarelto,                   12   all the differences in these drugs and you look at that
13   or is that not a comparable situation?                                    13   in the pharmacologic modeling, based on elimination,
14      A.      Yeah, you can't really compare it.              I mean, I      14   half-life, and all that, different drugs are going to
15   think -- the thing you have to look at here, like we                      15   have different recommendations as far as how to dose
16   talked about yesterday is exposure, which is, over                        16   them, to make it make sense in the body.               When you plug
17   time, total levels of the medication over time that we                    17   all the data in for rivaroxaban, it makes more sense to
18   talked about and agreed yesterday, would be the area                      18   give it once a day.      When you plug all the data in for
19   under the curve, so there's two different ways you can                    19   apixaban, it makes more sense to give it twice a day,
20   get to that area under the curve.            You can go with a --         20   but you've got all of those factors you've got to deal
21   you know, a relatively higher dose once a day to give                     21   with.    It's not as simple as, "I'm going to give you
22   you a high peak and a higher trough, probably, based on                   22   the drug, and it's going to come ought of your body."
23   most pharmacokinetics, but the fact that -- if you draw                   23   You've got to look at potency, affinity, the degree of
24   the area under that triangle, one big triangle, versus                    24   action, how long is it bound -- again, just because
25   taking and making two smaller triangles, the area's                       25   it's in your plasma doesn't mean it's working, right?



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                                                                     Page 74                                                                       Page 76
 1   going to probably be the same, as far as exposure, but                    1    And so you need to know, is it bound to X, is it not
 2   you can't make anything out of the peaks and troughs                      2    bound to X, is it reversibly bound, irreversibly -- you
 3   because the drugs are going to be different.                 The other    3    have to take all of that into consideration.
 4   thing you've got to look at is, drugs have different                      4        Q.     And I guess what I'm asking you is, I just
 5   potencies, so if you can measure Drug X -- and pick                       5    want to make sure that the statement that you made
 6   whatever you want, milligrams, nanograms, doesn't                         6    yesterday about --
 7   matter, but -- and, again, I'm hypothetically speaking,                   7        A.     Trough was --
 8   here.    If you can measure Xarelto as one milligram                      8        Q.     -- troughs being higher or lower in a
 9   being in the body, and you can measure apixaban as                        9    particular drug, that wasn't -- that wasn't meant to
10   being ten milligrams in the body, that might have the                     10   be a cautionary statement, that you think that Eliquis
11   same potency, you see what I'm saying, because the                        11   is not as safe of a drug because it's given twice a
12   medicines might -- the medicines are there to attach to                   12   day, and, therefore, might have higher interval
13   factor X, so you can't milligram-to-milligram these                       13   troughs?
14   drugs because one milligram of one -- and you can                         14      A.      I apologize for interrupting you.             Yeah, I --
15   reverse that.    Ten milligrams of Xarelto in the body,                   15   correct.    I was speaking to rivaroxaban, yesterday,
16   versus one milligram of Eliquis in the body might have                    16   troughs, not to apixaban.        I, in no way, am saying that
17   the same affect on Xa, you with me?             So it's hard to           17   Eliquis is a more dangerous drug given twice a day, at
18   understand that just based on looking at the                              18   all, because of the differences just mentioned.
19   milligrams, because you need to know the affinity of                      19      Q.      And, I think you said this in the long answer
20   binding of the drug to your target, and the potency of                    20   that you just gave; and you're not saying or suggesting
21   that, so it's really hard to compare those two.                           21   that Eliquis given once a day would be a safer drug
22       Q.     Okay, you just made some statement yesterday                   22   than Eliquis delivered twice a day?
23   about issue of troughs being high and potentially being                   23      A.      Not at all.    I mean, I think when you look at,
24   a problem, and here's my question for you today:                          24   like I said, the modeling, it would suggest that it
25   You're not -- you're not able to state that Eliquis                       25   would be better to give that particular molecule twice



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                                                                     Page 77                                                                        Page 79
 1   a day, rather than once a day, so, you know, because of                   1    again and trying to correlate, "Alright, your PT's this
 2   the deferences in the two medications' activities, they                   2    at baseline.    Your PT'S this on this day after
 3   need to be dosed differently.                                             3    rivaroxaban."    You've got a guy you haven't checked the
 4        Q.   So you would agree with me that, for some                       4    PT in in quite a while who comes in, he's got known
 5   molecules, there are some factors or things that you                      5    liver issues, you know.       It's a medical fact that our
 6   can look at to determine what its optimal dosing might                    6    proteins that cause coagulation are made in the liver,
 7   be for a particular condition?                                            7    so if those aren't being made -- he could have
 8        A.   Absolutely, so like we talked -- you know, we                   8    developed a number of issues that's causing his PT to
 9   look at half-life as the most commonly one that's                         9    be elevated, so, in order to correlate like that, it's
10   looked at, and, again, that's how long it takes for                       10   got to be done in the trial, like they've been done, to
11   half of the drug to be eliminated from the system or                      11   show that correlation, but somebody that comes in off
12   from the blood, but you have to look at, okay, just                       12   the street that has a PT drawn, and hadn't had one in a
13   because the drug's there doesn't mean it's doing                          13   long time, I can't say, at this particular instance,
14   anything, so you have to look at affinity for the                         14   that it correlates to his plasma rivaroxaban level, and
15   target, you have to look at the potency against the                       15   even if it did correlate, certainly, clinically, this
16   target.   You know, with the case of factor X, you've                     16   test doesn't help me, being where he is, at all in his
17   got to look at free-flowing factor X, at bound factor                     17   management of him.
18   X.   There are multiple, multiple variables that make                     18       Q.     And you don't know one way or the other whether
19   this very confounding, and, you know, that's why we                       19   that's a PT for him that's tending towards trough or
20   have dose-finding trials.         That's why we have all                  20   tending towards closer to peak or --
21   these computer models that tell us, "Hey, this drug                       21       A.     Well, yeah, based on his history, you know, if
22   needs to be given once a day for the best results, this                   22   you look at it, he came into the clinic that morning
23   drug needs to be given twice a day."                                      23   and he was evaluated.       He was sent home and told not to
24        Q.   In Mr. Boudreaux's situation, that slightly                     24   take his Xarelto.     I'm pretty sure Mr. Boudreaux, from
25   elevated PT of 13.6, for whatever reagent that was                        25   reading his deposition, and his wife's deposition, and



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                                                                     Page 78                                                                        Page 80
1    used, there would be a way to determine, even if it's a                    1   from looking at his case, that he did not take his
2    non-Neoplastine reagent, what the corresponding plasma                     2   Xarelto when he went back home, so, based on the timing
3    concentration would be for a particular reagent at a                       3   and the way that the drug works, by the time he got
4    particular level or score, right?                                          4   back up to the hospital and had this lab work drawn,
5                   MR. SARVER:           Object to form.                       5   he's tending towards trough.
6         A.   No, so I think -- because, like we talked about                  6       Q.     So your view for Mr. Boudreaux is that that PT
7    before, even on the Neoplastine label that we looked at                    7   of 13.6 is a PT that's tending to be towards trough,
8    yesterday, the PT is not specific for a Xa drug, nor is                    8   correct?
9    it specific for Coumadin.        That's why the INR was                    9       A.     Right.    I mean, that's not going to -- you
10   invented, so there are so many variables that can                         10   know, I'm a little wary of his correlation in this
11   affect the PT.    There are so many other things -- and,                  11   particular instance because of the things I just said
12   like I mentioned a few of them earlier in Mr.                             12   before, but, yes I think it's been a while since he's
13   Boudreaux's case that can affect the PT that have                         13   taken Xarelto.
14   nothing to do with his rivaroxaban use, so that's what                    14                  MR. HONNOLD:           Why don't we take a short
15   makes the PT such a poor, poor test in this situation,                    15   break, and I'll focus on what still needs to be done,
16   or in any situation, to try to determine anything about                   16   and come back for our last lap on this.
17   rivaroxaban and clinical utility.                                         17                  VIDEOGRAPHER:          It's 11:23 a.m.          We're
18        Q.   But in saying that, you're not changing any of                  18   off-record.
19   your views or the statements you made yesterday about                     19                       [Short recess was taken.]
20   the correlation between increasing PT and increasing                      20                  VIDEOGRAPHER:          The approximate time is
21   plasma concentration, as a general matter?                                21   11:47 a.m.     We're back on record.         Tape number 3,
22        A.   Right, as a general matter, you can correlate                   22   deposition of Dr. Scott Boniol.
23   -- you know, if you give rivaroxaban, you're monitoring                   23   BY MR. HONNOLD:
24   it serially.    The problem you have here is you're not                   24       Q.     Doctor, we're back on the record now after a
25   doing that.    You're not bringing them over and over                     25   break, and I apologize for the length of it, due to



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1    some travel difficulties I'm having, but, in any                          1   conceal, what are you saying there?
2    event, in this case, you would agree with me that                         2       A.   So, you know, we know that these medications,
3    Xarelto was a contributing cause to the GI bleed that                     3   such as Xarelto, Eliquis, and Coumadin, do not cause
4    Mr. Boudreaux was having when he presented to the                         4   blood vessel damage, they do not cause endothelial
5    hospital on February 3rd, 2014?                                           5   lining damage.    They do not, themselves, cause
6                  MR. SARVER:           Object to form.                       6   bleeding.   These drugs do not induce bleeding, so for
7        A.     I would agree that it was a contributing, but                  7   bleeds like this to occur, they have to already --
8    certainly not the sole cause.                                             8   there has to be some sort of damage to his GI tract.
9    BY MR. HONNOLD:                                                           9   Looking at his medical history retrospectively, I
10      Q.      And so, fair to state, then, that the Xarelto                 10   think he had this damage prior to -- or had this slow
11   usage caused or contributed to cause the GI bleed that                   11   bleed prior to initiation of Xarelto.             I think it was
12   he had on February 3rd, 2014?                                            12   contained by his ability to clot, and, certainly, once
13      A.      No, I would not use the word "cause" in that                  13   you give him -- it was not clinically evident that he
14   situation.                                                               14   was bleeding at the time he was initiated on Xarelto;
15       Q.     The Xarelto usage contributed to cause the GI                 15   however, once taking Xarelto, he was no longer able to
16   bleed that he had on February 3, 2014, correct?                          16   sufficiently cause enough clotting to occur to prevent
17       A.     No, I would not use the word "cause."              You keep   17   this clot from being clinically evident, so once
18   using the word "cause."      I would say that Xarelto                    18   Xarelto was started, blood was thinned, he went from a
19   exacerbated the GI bleed.       I would not use the word                 19   slow drip in a pipe to a larger drip, and then you
20   "cause."                                                                 20   could see that the pipe had a hole in it.
21       Q.     And it didn't -- in your view, the Xarelto                    21       Q.   What are the possible explanations for the
22   didn't cause the bleed to be worse, then?                                22   ROCKET data that showed that rivaroxaban had more GI
23       A.     Well, I guess you could say "cause it to be                   23   bleeding than Warfarin?
24   worse", again, but I think using the word -- I don't                     24       A.   So, you know, obviously, one thing could be
25   like the word "cause" in this situation, because I                       25   just extremely bad luck, you know, because the big


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1    don't want to insinuate that Xarelto damaged his GI                      1    question that I can't answer is, why, in all the other
2    tract lining, so I prefer to use the word "exacerbate"                   2    clinical trials, we don't see the same increased risk
3    in my words.                                                             3    of GI bleed, nor in the wealth of real-world data do
4        Q.     So when you say that Xarelto was a contributing               4    we see that increased risk of GI bleeding, so bad luck
5    factor to the GI bleed that he had on February 3rd,                      5    could be one explanation.       Another explanation could
6    2014, what do you mean by that?                                          6    be that these drugs do cause an increase in minor
7        A.     So, you know, again, by being a contributing                  7    bleeds that are of no real clinical significance.                  Like
8    factor, I think that Mr. Boudreaux has a bleed in his                    8    we talked about before, anytime you have any sort of
9    gastrointestinal tract.      Certainly, we all,                          9    bleed in the GI tract, it has to be reported as an
10   unfortunately, tend to bleed now and again.               I think        10   adverse event.    I don't say anywhere in the ROCKET data
11   his body was able to control the bleed to keep it from                   11   where they stratify the severity of bleeding specific
12   being clinically evident to Mr. Boudreaux, and I think,                  12   to GI events, so I don't know that we can quantify what
13   once he started on Xarelto, because his body could no                    13   types of bleeds these are.       Another explanation could
14   longer -- could no longer conceal or contain his bleed                   14   be, maybe, the offset of being safer in intracranial
15   enough with the coagulation cascade, that the bleed                      15   bleeds and fatal bleeds than Coumadin is offset by a
16   became clinically evident, so, in that it thinned his                    16   lower -- or less significant GI bleed.
17   blood, it contributed to the fact that his bleed was                     17      Q.    I appreciate that.        I'm not sure it was
18   clinically evident.     You asked me how it contributed to               18   responsive to my question.       What are the possible
19   his bleed on that day, so I don't think it contributed                   19   scientific explanations for the ROCKET data that showed
20   to the ongoing bleed.      I think it just made it                       20   that patients on rivaroxaban had more gastrointestinal
21   clinically evident on this day, so it contributed to                     21   bleeding as compared to Warfarin?
22   the fact that he could see his black stool and know                      22               MR. SARVER:             Object to form.
23   that something was going on.                                             23   BY MR. HONNOLD:
24      Q.      When you say that the Xarelto created a                       24      Q.    Other than bad luck.
25   situation where his body could no longer control or                      25               MR. SARVER:             Object to form.



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1        A.     I don't think there's any specific explanation,                   1   how the data is presented, it doesn't suggest that it's
2    other than, you know, that, perhaps -- we talked about                       2   due to statistical chance, correct?
3    affinity of different medications to Xa, that perhaps                        3       A.     Correct.
4    the affinity of Xarelto to the GI tract is higher.                  I        4       Q.     Anywhere in your report that we've marked as
5    mean, that's just scientific hypotheses.              There's never          5   Exhibit 1, do you specifically state that Mr. Boudreaux
6    been any testing that has proven, any way or another,                        6   would have had the exact same GI bleed if he'd been on
7    why that would be.                                    BY MR.                 7   Warfarin?    Do you say that anywhere, in words, in your
8    HONNOLD:                                                                     8   report?
9        Q.     When you said that one explanation may be bad                     9       A.     I don't say that specifically.             I do say that,
10   luck, are you saying -- by using that term, are you                         10   you know, you can't say that he wouldn't have, but I
11   equating it to statistical chance, or are you equating                      11   don't say that you can say that he would, so the way
12   it to something else?                                                       12   you've specifically worded it, I do not say that, no.
13       A.     I don't think it's a statistical chance.               I'm       13       Q.    The treatment that Mr. Boudreaux had for his
14   just equating it to, you know, you can flip a coin                          14   bleed, can you provide an overall summary of the
15   heads or tails, and all of a sudden, you can get a run                      15   treatment that he needed for that?
16   of two hundred heads.      It's not very likely, but it is                  16       A.    So when he came in with a GI bleed -- and
17   possible, so, you know, I think, statistically -- the                       17   obviously, the first thing that was done was he -- he
18   statistical analysis of the trial would not be up to                        18   was evaluated for his degree of anemia.               Based on his
19   luck.    It would decrease the chances of this being                        19   low value and the change he'd had over the last three
20   random event, but random events are still possible.                         20   weeks, he had -- it was felt that he'd benefit from
21   Is it likely?    No.   Is it possible?        Yes.     There's no           21   giving him blood, so he was initially transfused two
22   other sound scientific explanation that I've ever seen                      22   units of packed red blood cells.            His rivaroxaban was
23   to describe why, in this one particular trial, you see                      23   held, which is, again, as we talked about yesterday,
24   this, and you don't see it in others.                                       24   effective to reverse the effects of that anticoagulant
25       Q.     So you've not seen any authors or commentators                   25   alone.    Ultimately, a few days later, he was given two



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 1   provide scientific explanation for the distinction?                         1    further units, for a total of four units of blood
 2       A.     I've heard the hypotheses before, but I've not                   2    transfusion, which is not an excessive amount of blood
 3   seen any scientific data that has proven why there                          3    for a GI bleed.     After stabilization, he was evaluated
 4   would be an increased propensity to bleed in the GI                         4    for a source of bleeding by both an upper GI tract
 5   tract.                                                                      5    camera, which is mouth to stomach, and later on, a
 6       Q.     And the hypotheses that you've heard, where                      6    couple days later after that, about three days after
 7   have you heard them?                                                        7    that, he had a colonoscopy, which looked from his anus
 8       A.     You know, I don't know if I've read them.                    I   8    to his cecum, so everything but his small bowels was
 9   just think, in discussions with other physicians, I've                      9    imaged.   He did really well just by withholding Xarelto
10   heard hypotheses.                                                           10   and transfusing blood.       He stabilized essentially
11       Q.     And I didn't say that you'd read them.                I said     11   immediately.   His hemoglobin stayed up to where it
12   you said you'd heard them, and so where did you hear                        12   should be, indicating no clinically-significant ongoing
13   them?                                                                       13   bleeding, and he was discharged home.
14       A.     Just in discussions with other doctors.                          14      Q.     What's your understanding as to whether Mr.
15       Q.     And have you seen any written scientific                         15   Boudreaux is on any anticoagulant medication today?
16   explanation?                                                                16      A.     He's not.    Well, I'm sorry, as of June 7, 2016,
17       A.     I have not.                                                      17   which was the last medical record date that I have, he
18       Q.     In any of the articles on your reference list,                   18   was not on anticoagulation.
19   is there any scientific explanation for the different                       19      Q.     What's the last medical record that you have
20   rates in ROCKET for GI bleeding between Xarelto and                         20   seen that confirmed, by evaluation of his rhythm, that
21   Warfarin?                                                                   21   Mr. Boudreaux still has atrial fibrillation?
22       A.     There's not.                                                     22      A.     I believe it's that same date, he had heart
23       Q.     And I want to make sure that we're clear on                      23   catheterization -- no, I'm sorry, his last date of
24   this:    When you look at the statistical analysis for                      24   atrial fibrillation, I don't recall.             I'd have to go
25   that discrepancy in GI bleeding, at least in terms of                       25   back and look up.     It may have been that June date



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1    because I think he had a heart catheterization, but                         1    them; or patients come in with INRs that are what we
2    I'll have to go back and look at his actual rhythm.                     I   2    call supratherapeutic, or way higher than they need to
3    did not note that.                                                          3    be, and they don't bleed.        I think, when you look at
4        Q.   Is it fair to state that Mr. Boudreaux was                         4    clinical trial that report bleeding rates, they're
5    admitted to the hospital on February 3rd, 2014 for                          5    relatively low in people across all anticoagulation,
6    acute gastrointestinal bleeding?                                            6    so, no, I think the majority of us do not have that
7        A.   Yes, sir.                                                          7    problem.
8        Q.   Would his use of Xarelto have been -- would it                     8        Q.     But your view is that everybody who has a bleed
9    have also been a contributing factor to Mr. Boudreaux                       9    that's on an anticoagulant, it's due to the fact that
10   needing the medical care that he received in the                            10   they do have some underlying vascular defect,
11   hospital?                                                                   11   deformity, whether it's pre-existing, permanent,
12       A.   Indirectly, in that I feel it exacerbated his                      12   temporary -- something, right?
13   GI bleed, yes.                                                              13      A.      They have a significant enough anatomic or
14       Q.   And in terms of the information that you                           14   pathologic lesion -- I mean, blood is contained in our
15   include in your report for when Mr. Boudreaux got out                       15   blood vessels.     For it to get out of its contained
16   of the hospital, do you make any statement to suggest                       16   system, there has to be an opening.            That's not my
17   that you think that Mr. Boudreaux continues to have                         17   opinion.    I think that's pretty much well-known.
18   some underlying GI bleeding?                                                18      Q.      What's your -- currently, your understanding of
19       A.   I'm not certain if I make that exact statement.                    19   the different degrees of sensitivity with the different
20   I don't think he has any clinically-evident GI                              20   PT reagents?
21   bleeding, no.                                                               21                 MR. SARVER:            Object to form.
22       Q.   So the last medical records that you saw for                       22       A.     Sensitivity to what?
23   Mr. Boudreaux suggested that he did not have any                            23   BY MR. HONNOLD:
24   clinically-evident gastrointestinal bleeding, correct?                      24       Q.     To rivaroxaban.
25       A.   The last records that I reviewed for Mr.                           25       A.     You know, again -- I've stated this several



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                                                                    Page 90                                                                           Page 92
 1   Boudreaux, June 7th, 2016, show that he has a                                1   times.     The PT in the rivaroxaban plasma concentration
 2   significant relapse of his anemia, down to 10.5, which,                      2   in no way correlates to bleeding.            I don't look at this
 3   in a male, is a GI bleed until proven otherwise, in my                       3   on a routine basis, because it has no clinical utility,
 4   world, so, yeah, I have concern that he has a GI bleed                       4   so I don't know.     I have no need to know.
 5   as of that date; subclinical GI bleed.                                       5       Q.      Have you looked at it enough to know that, in
 6       Q.      But in terms of clinically-evident bleeding,                     6   the same patient, at the same time, when they're on
 7   there wasn't any that was observed that date --                              7   Xarelto and have a given plasma concentration level,
 8       A.      No, sir.                                                         8   that if you were to do multiple PT tests on them at
 9       Q.      -- correct?   Is it true that, in the                            9   that point in time, using different reagents, you
10   population, generally, that individuals -- all of us,                       10   would get different numbers?
11   to some degree -- do have lesions, deformities,                             11       A.     You should get different numbers, yes.
12   defects in our vasculature that might be things that                        12       Q.     And you base that answer on what you've read
13   would cause clinically-evident bleeding, but for the                        13   and what you know about those varying degrees of
14   fact that our coagulation system is able to overcome                        14   sensitivity for those reagents to rivaroxaban, correct?
15   those things and keep clinical bleeding from                                15       A.     Sure.   I think we even looked at a paper
16   developing?                                                                 16   yesterday that showed different PTs had lines that were
17       A.      Well, I think, when you look at any literature                  17   a little bit flatter when they didn't have Neoplastine,
18   or anything that looks at this, by far, the wide                            18   but still tended to correlate with a plasma rivaroxaban
19   majority of us do not.       You know, when you look at --                  19   level.     I think that's well-represented in all the
20   if that were the case, then anytime you put somebody on                     20   literature that that's a fact.
21   anticoagulation, they would bleed, we know for a fact                       21       Q.     What's a lariat procedure?
22   that patients come in with -- I see patients on a                           22       A.     So my understanding of a lariat procedure is
23   monthly basis on Coumadin that come in with an INR                          23   that it is an invasive procedure done by cardiologists
24   that's too high to detect, but be greater than twenty,                      24   in which the left atrial appendage of the heart, which
25   and they don't bleed, and that's the wide majority of                       25   is the area in which clots can occur during atrial



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                                                                      Page 93                                                                         Page 95
 1   fibrillation and cause stroke, is what we call ligated,                     1    look at it from a whole bunch of different angles to
 2   or cut off from the rest of the atrium, which will                          2    make sure we're not missing anything here.
 3   decrease the -- theoretically, at least, should                             3        Q.   So you completed your report, or signed it, on
 4   decrease the incidence of clot formation and stroke in                      4    November 15, 2016, right?
 5   atrial fibrillation patients, but I would defer any                         5        A.   Yes, sir.
 6   specifics to the -- I've never done that procedure.                         6        Q.   And I just want to make sure I understand.
 7   I've never sent a patient to do that procedure.                    That's   7    What additional material on Mr. Boudreaux's case have
 8   just from what I've read, so I do not, in any way,                          8    you received since that time?
 9   consider myself an expert in the lariat procedure.                          9        A.   I think I received the deposition of Dr.
10       Q.     You state at page 12 of your report that there                   10   Lessenger since that time.
11   is no direct evidence that Mr. Boudreaux's low-dose                         11      Q.    And since November 15th of 2016, you've not
12   aspirin is the cause of his GI bleed.               Do you see that?        12   supplemented your report or made any changes to the
13       A.     I do.                                                            13   body of your report, correct --
14       Q.     And how is it or why is it that you state that                   14      A.    No, sir.
15   there is no direct evidence that his low-dose aspirin                       15      Q.    And you've known that we were going to be doing
16   is the cause of his GI bleed?                                               16   these depositions yesterday and today, since when?
17                 MR. SARVER:              Object to form.                      17      A.    I think I got my notice of deposition two weeks
18       A.     So, you know, direct evidence of aspirin -- so                   18   ago, maybe, somewhere around there; 10 to 14 days ago.
19   let me back up just a little bit here so we can get on                      19      Q.    So, in the past two weeks, knowing that the
20   the same page.      So we talked about the anticoagulants                   20   depositions were going to occur, you didn't supplement
21   such as Eliquis, Xarelto and Pradaxa, they do not cause                     21   or change the report --
22   bleeding.    Aspirin's a little bit different, in that it                   22       A.   I didn't add anything, no, sir.               I just went
23   does have the potential to actually cause bleeding, as                      23   back and reread the information that is provided here
24   well as exacerbate bleeding so it's a totally different                     24   to refresh my memory and refamiliarize myself with the
25   medication.     You know, when you look up in any medical                   25   specifics of the case.



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                                                                      Page 94                                                                         Page 96
1    textbooks, journals, lists of the causes of bleeding,                        1       Q.   So, in terms of reevaluation, looking at
2    you can find aspirin and drugs, such as indomethacin,                        2   additional material and depositions, there wasn't
3    on that list.      You will not find anticoagulants, such                    3   anything that you saw that caused you to modify or
4    as Xarelto or Eliquis, on that list.              These drugs cause          4   supplement your written report, as it exists now as
5    bleeding by eroding the lining of the gastrointestinal                       5   Exhibit 1?
6    tract and exposing the underlying blood vessels to the                       6       A.   Not at this time.
7    surface where they weren't exposed before, therefore,                        7       Q.   Okay, great.       I thank you for your time and
8    taking, again, the closed, contained blood system and                        8   courtesy.    I don't have any other questions for you.
9    opening it up to the outside by this direct erosion.                         9       A.   Thank you.
10   There's no direct visual evidence on his scopes that                        10                MR. SARVER:              No questions.
11   show he's had injury to this part of his GI tract from                      11                VIDEOGRAPHER:            The approximate time is
12   his aspirin, so, not seeing that in his EGD, you                            12   12:13 p.m. and this is the conclusion of the deposition
13   should not see that at all on a colonoscopy.                 Aspirin        13   of Dr. Boniol.
14   should be absorbed well before it would damage the                          14                    [Deposition was concluded.]
15   colon, but also, looking at his pill endoscopy, there's                     15
16   no direct evidence that the aspirin caused his GI                           16
17   bleed.                                                                      17
18       Q.     At the end of your report, you make various                      18
19   statements about you reserve the right to supplement,                       19
20   and if additional information is provided regarding the                     20
21   case; you've not been presented with anything                               21
22   additional since you prepared your report, have you?                        22
23       A.     I've not been -- no, no supplemental literature                  23
24   or anything like that.        I do continue to review his                   24
25   case.    You know, you can look at it from -- I try to                      25



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                          REPORTER'S CERTIFICATION

        This certification is valid only for a transcript accompanied by

     my original signature and original seal on this page.

     I, SARAH B. TOWNSLEY, Certified Court Reporter, as the officer before

     whom this testimony was taken, hereby certify that STEVEN SCOTT

     BONIOL, M.D., having been duly sworn by me upon authority of R.S.

     37:2554, testified as set forth in the previous 96 pages; this

     testimony was reported by me in the stenotype reporting method, was

     prepared and transcribed by me, is a true and correct transcript, to

     the best of my ability and understanding; the transcript has been

     prepared in compliance with transcript format guidelines required by

     statute or by rules of the board, am informed about the complete

     arrangement, financial or otherwise, with the person or entity making

     arrangements for deposition services; have acted in compliance with

     the prohibition on contractual relationships, as defined by Louisiana

     Code of Civil Procedure Article 1434 and rules and advisory opinions

     of the board; I have no knowledge of any prohibited employment or

     contractual relationship, direct or indirect, between a court

     reporting firm and party litigants in this matter, nor any such

     relationship between myself and party litigants n this matter, and am

     not related to counsel or parties herein, nor am I otherwise

     interested in the outcome of the matter.

        Signed this 19th day of January, 2017.

                                            ___________________________

     Sarah B. Townsley, CCR, RPR - LA CCR 92016; TX CSR 5746; RPR #814458



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                                                                      Page 98
 1                           ERRATA SHEET
 2             DEPOSITION OF STEVEN SCOTT BONIOL, M.D.
 3                          JANUARY 14, 2017
 4    Please make any changes/corrections on this sheet.
 5    Please do not write in the deposition.
 6
 7    PAGE NO./LINE NO.                              EXPLANATION
 8    ____     _____              ______________________________
 9    ____     _____              ______________________________
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23
24    __________                  _______________________
25    DATE                        STEVEN SCOTT BONIOL, M.D.


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